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                               EXHIBIT A




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                                                                                                         Crest Appraisal Services

                                                                                                                                                                                        MIS-51938
                                                                          Uniform Residential Appraisal Report                                                                   File # 2200022536
               The purpose of this summary appraisal report is to provide the lender/client with an accurate, and adequately supported, opinion of the market value of the subject property.
               Property Address 4534 NE 204th Pl                                                                         City Lake Forest Park                             State WA       Zip Code 98155
               Borrower Joan Raider Rawlings                                                 Owner of Public Record Joan Raider Rawlings                                   County King
               Legal Description LAKE FOREST HEIGHTS #2 TGW UND INT IN TR C PLAT BLOCK: PLAT LOT: 43
               Assessor's Parcel # 401711-0430                                                                           Tax Year 2021                                     R.E. Taxes $ 8,194
               Neighborhood Name Lake Forest Park                                                                        Map Reference 42644                               Census Tract 0215.00
SUBJECT




               Occupant         Owner          Tenant         Vacant                         Special Assessments $ 0                                           PUD    HOA $ 0              per year    per month
               Property Rights Appraised            Fee Simple           Leasehold            Other (describe)
               Assignment Type            Purchase Transaction              Refinance Transaction             Other (describe)
               Lender/Client     Finance Of America Reverse LLC                                 Address 8023 East 63rd Place, Suite 700, Tulsa , OK 74133
               Is the subject property currently offered for sale or has it been offered for sale in the twelve months prior to the effective date of this appraisal?                    Yes        No
               Report data source(s) used, offering price(s), and date(s).            NWMLS/Realist/County Records

               I      did        did not analyze the contract for sale for the subject purchase transaction. Explain the results of the analysis of the contract for sale or why the analysis was not
               performed.
CONTRACT




               Contract Price $                       Date of Contract                      Is the property seller the owner of public record?        Yes         No Data Source(s)
               Is there any financial assistance (loan charges, sale concessions, gift or downpayment assistance, etc.) to be paid by any party on behalf of the borrower?                                     Yes      No
               If Yes, report the total dollar amount and describe the items to be paid.



               Note: Race and the racial composition of the neighborhood are not appraisal factors.
                            Neighborhood Characteristics                                      One-Unit Housing Trends                                                   One-Unit Housing              Present Land Use %
               Location      Urban              Suburban           Rural          Property Values         Increasing           Stable             Declining            PRICE           AGE          One-Unit          85 %
               Built-Up      Over 75%           25-75%             Under 25%      Demand/Supply           Shortage             In Balance         Over Supply         $ (000)          (yrs)        2-4 Unit            5%
NEIGHBORHOOD




               Growth        Rapid              Stable             Slow           Marketing Time          Under 3 mths         3-6 mths
                                                                                                                                  580 Low      0  Over 6 mths                                       Multi-Family        3%
               Neighborhood Boundaries        Subject was bound by 228th St to the North, by Locust Way to the East, by          1,750 High   115                                                   Commercial          7%
               SR-104 to the South and by I-5 to the West.                                                                       1,340 Pred.   42                                                   Other                  %
               Neighborhood Description       Neighborhood was centrally located to all major facilities such schools, shopping, employment and major transportation.
               Older style homes prevail with some newer styles apparent. Neighborhood had adequate employment stability, police and fire protection.
               Neighborhood conforms to other neighborhoods in appeal and maintainance level overall.
               Market Conditions (including support for the above conclusions) See attached addenda.


               Dimensions See Attached Plat Map                                           Area 9626 sf                               Shape Mostly Rectangular    View N;Res;
               Specific Zoning Classification RS 9600                                     Zoning Description Single Family Residential(minimum lot size 9600sf)
               Zoning Compliance          Legal        Legal Nonconforming (Grandfathered Use)          No Zoning         Illegal (describe)
               Is the highest and best use of subject property as improved (or as proposed per plans and specifications) the present use?             Yes     No If No, describe

               Utilities         Public Other (describe)                                       Public Other (describe)                      Off-site Improvements - Type              Public     Private
               Electricity                                                      Water                                                       Street Asphalt
SITE




               Gas                                                              Sanitary Sewer                                              Alley none
               FEMA Special Flood Hazard Area               Yes          No FEMA Flood Zone X                   FEMA Map # 53033C0044G                                   FEMA Map Date 08/19/2020
               Are the utilities and off-site improvements typical for the market area?              Yes      No If No, describe
               Are there any adverse site conditions or external factors (easements, encroachments, environmental conditions, land uses, etc.)?                     Yes      No If Yes, describe
               No apparent adverse encroachments, easments or other adverse conditions were noted. No apparent functional or external inadequacies.
               Subject site appears to be average for the area in topography.

                            General Description                                      Foundation                        Exterior Description                materials/condition Interior                  materials/condition
               Units       One      One with Accessory Unit            Concrete Slab             Crawl Space           Foundation Walls     Concrete/ Avg                          Floors         Cpt/Hw/Tile/Vin/Avg
               # of Stories          2                                 Full Basement             Partial Basement      Exterior Walls       Wood/ Avg                              Walls          Drywall/ Avg
               Type        Det.     Att.      S-Det./End Unit      Basement Area                          939 sq.ft.   Roof Surface         Composition/ Avg                       Trim/Finish    Wood/ Avg
                    Existing      Proposed        Under Const.     Basement Finish                        100     %    Gutters & Downspouts Aluminium/ Avg                         Bath Floor     Tile/Vinyl/ Avg
               Design (Style)        Contemp                           Outside Entry/Exit           Sump Pump          Window Type          Vinyl/ Avg                             Bath Wainscot Tile/Vinyl/ Avg
               Year Built            2004                          Evidence of         Infestation                     Storm Sash/Insulated Insulated/ Avg                         Car Storage          None
               Effective Age (Yrs) 10                                  Dampness            Settlement                  Screens              Mesh/ Avg                                  Driveway     # of Cars     2
               Attic                        None                   Heating        FWA          HWBB          Radiant   Amenities                 Woodstove(s) # 0                  Driveway Surface         concrete
                    Drop Stair              Stairs                     Other                 Fuel Elec                     Fireplace(s) # 3      Fence wood                            Garage       # of Cars     2
                    Floor                   Scuttle                Cooling         Central Air Conditioning                Patio/Deck wd/cc      Porch wd/cc                           Carport      # of Cars     0
                    Finished                Heated                     Individual                 Other None               Pool None             Other None                            Att.          Det.          Built-in
IMPROVEMENTS




               Appliances        Refrigerator       Range/Oven           Dishwasher           Disposal         Microwave           Washer/Dryer             Other (describe)
               Finished area above grade contains:                    6 Rooms          1 Bedrooms           1.1 Bath(s)           1,747 Square Feet of Gross Living Area Above Grade
               Additional features (special energy efficient items, etc.).   Average general landscaping, textured walls and ceilings, covered porch.

               Describe the condition of the property (including needed repairs, deterioration, renovations, remodeling, etc.).
                                                                                                               C3;No updates in the prior 15 years;The subject
               property was built in 2004 with superior grade of materials and workmanship. The subject has had periodic maintenance and updates and is
               currently in average condition for a home of its age. There were no significant items observed that needed immediate repair. At the time of
               inspection the subject's utilities were on/functional, there were working CO/smoke detectors and the water heater was double strapped.

               Are there any physical deficiencies or adverse conditions that affect the livability, soundness, or structural integrity of the property?                             Yes       No If Yes, describe




               Does the property generally conform to the neighborhood (functional utility, style, condition, use, construction, etc.)?                           Yes          No If No, describe



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                                                                        Form 1004UAD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE

                             Case 22-10025-TWD                              Doc 46-1                Filed 07/08/22                   Ent. 07/08/22 16:44:19                             Pg. 4 of 53
                                                                                                                                                                                       MIS-51938
                                                                                    Uniform Residential Appraisal Report                                                        File # 2200022536
                            There are          5    comparable properties currently offered for sale in the subject neighborhood ranging in price from $ 774,950                  to $ 1,350,000             .
                            There are        93     comparable sales in the subject neighborhood within the past twelve months ranging in sale price from $ 625,000                   to $ 1,680,000            .
                                         FEATURE                    SUBJECT                   COMPARABLE SALE # 1                       COMPARABLE SALE # 2                      COMPARABLE SALE # 3
                            Address 4534 NE 204th Pl                                 5914 NE 201st St                           20103 51st Ave NE                        18550 53rd Ave NE
                                         Lake Forest Park, WA 98155                  Kenmore, WA 98028                          Lake Forest Park, WA 98155               Lake Forest Park, WA 98155
                            Proximity to Subject                                     0.60 miles E                               0.23 miles SE                            0.97 miles SE
                            Sale Price                        $                                           $        1,150,000                       $        1,440,000                       $        1,680,000
                            Sale Price/Gross Liv. Area        $               sq.ft. $     664.74 sq.ft.                        $    888.89 sq.ft.                       $ 1005.99 sq.ft.
                            Data Source(s)                                           NWMLS#1863662;DOM 6                        NWMLS#1889554;DOM 5                      NWMLS#1902004;DOM 5
                            Verification Source(s)                                   Realist/KingCountyWebsite                  Realist/KingCountyWebsite                Realist/KingCountyWebsite
                            VALUE ADJUSTMENTS                     DESCRIPTION           DESCRIPTION         +(-) $ Adjustment      DESCRIPTION       +(-) $ Adjustment      DESCRIPTION       +(-) $ Adjustment
                            Sales or Financing                                       ArmLth                                     ArmLth                                   ArmLth
                            Concessions                                              Conv;0                                     Conv;0                                   Conv;0
                            Date of Sale/Time                                        s01/22;c11/21                   +57,500 s03/22;c02/22                               s04/22;c03/22
                            Location                          N;Res;                 N;Res;                                     N;Res;                                   N;Res;
                            Leasehold/Fee Simple              Fee Simple             Fee Simple                                 Fee simple                               Fee Simple
                            Site                              9626 sf                12443 sf                                 0 9800 sf                                0 10884 sf                               0
                            View                              N;Res;                 N;Res;                                     N;Res;                                   N;Res;
                            Design (Style)                    DT2;Contemp            DT2;Contemp                                DT2;Contemp                              DT1;Contemp                            0
                            Quality of Construction           Q4                     Q4                                         Q3                           -200,000 Q3                              -200,000
                            Actual Age                        18                     41                                       0 47                                     0 56                                     0
                            Condition                         C3                     C3                                         C3                                       C2                           -150,000
                            Above Grade                        Total Bdrms. Baths Total Bdrms. Baths                          0 Total Bdrms. Baths                     0 Total Bdrms. Baths                     0
                            Room Count                           6      1     1.1      7      3     2.0                -6,000 6         2    2.1               -12,000 6         2      2.0               -6,000
                            Gross Living Area                        1,747 sq.ft.           1,730 sq.ft.                      0       1,620 sq.ft.            +13,970          1,670 sq.ft.                     0
                            Basement & Finished               939sf939sfwo           730sf730sfwo                    +22,990 720sf720sfwo                     +24,090 1570sf1570sfwo                    -69,410
                            Rooms Below Grade                 0rr3br1.0ba0o 1rr0br0.1ba1o                              +6,000 1rr2br1.0ba0o                            0 1rr2br1.0ba2o                          0
                            Functional Utility                Average                Average                                    Average                                  Average
SALES COMPARISON APPROACH




                            Heating/Cooling                   FWA/None               FWA/Central                      -12,000 FWA/Central                      -12,000 FWA/None
                            Energy Efficient Items            Duopane Wind Duopane Wind                                         Duopane Wind                             Duopane Wind
                            Garage/Carport                    2gbi2dw                2gbi2dw                                    2ga2dw                                 0 2ga4dw                                 0
                            Porch/Patio/Deck                  Porch/Pat/Deck Porch/Pat/Deck                                     Porch/Pat/Deck                           Porch/Pat/Deck




                            Net Adjustment (Total)                                               +          - $             68,490               +         - $     -185,940          +            -  $           -425,410
                            Adjusted Sale Price                                         Net Adj.         6.0 %                        Net   Adj.       12.9 %               Net Adj.          25.3 %
                            of Comparables                                              Gross Adj.       9.1 % $         1,218,490 Gross Adj. 18.2 % $            1,254,060 Gross Adj.        25.3 % $          1,254,590
                            I      did       did not research the sale or transfer history of the subject property and comparable sales. If not, explain



                            My research          did        did not reveal any prior sales or transfers of the subject property for the three years prior to the effective date of this appraisal.
                            Data Source(s)       NWMls/Realist/County Records
                            My research          did        did not reveal any prior sales or transfers of the comparable sales for the year prior to the date of sale of the comparable sale.
                            Data Source(s)       NWMls/Realist/County Records
                            Report the results of the research and analysis of the prior sale or transfer history of the subject property and comparable sales (report additional prior sales on page 3).
                                              ITEM                                     SUBJECT                          COMPARABLE SALE #1                        COMPARABLE SALE #2                   COMPARABLE SALE #3
                            Date of Prior Sale/Transfer
                            Price of Prior Sale/Transfer
                            Data Source(s)                              County Records/NWMLS                     County Records/NWMLS                      County Records/NWMLS                    County Records/NWMLS
                            Effective Date of Data Source(s)            04/27/2022                               04/27/2022                                04/27/2022                              04/27/2022
                            Analysis of prior sale or transfer history of the subject property and comparable sales                  Subject was not sold, listed, or transfered in the last three years. No
                            other sales were noted for the comparables in the last 12 months.




                            Summary of Sales Comparison Approach             See attached addenda.




                            Indicated Value by Sales Comparison Approach $  1,225,000
                            Indicated Value by: Sales Comparison Approach $     1,225,000  Cost Approach (if developed) $ 1,179,160 Income Approach (if developed) $
                            The Sales Comparison Approach reflects the actions of buyers and sellers in the market and is the approach that receives the most weight in this
                            appraisal report. Although applicable to this assignment, the cost approach was not determined to be necessary for a creditable report but was
RECONCILIATION




                            included at typical client requests. The lack of data on sales of rented homes precluded development of the income approach.
                            This appraisal is made        "as is",       subject to completion per plans and specifications on the basis of a hypothetical condition that the improvements have been
                            completed,         subject to the following repairs or alterations on the basis of a hypothetical condition that the repairs or alterations have been completed, or subject to the
                            following required inspection based on the extraordinary assumption that the condition or deficiency does not require alteration or repair: Appraisal was done "AS IS" and
                            no personal property was included in the final opinion of value.
                            Based on a complete visual inspection of the interior and exterior areas of the subject property, defined scope of work, statement of assumptions and limiting
                            conditions, and appraiser's certification, my (our) opinion of the market value, as defined, of the real property that is the subject of this report is
                            $ 1,225,000 , as of                 04/27/2022           , which is the date of inspection and the effective date of this appraisal.
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                                                                                  Form 1004UAD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE

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                                                                                                                                                                                        MIS-51938
                                                                               Uniform Residential Appraisal Report                                                           File # 2200022536
                      The intended User of this appraisal report is the Lender/Client. The Intended use is to evaluate the property that is the subject of this appraisal for
                      a mortgage finance transaction, subject to the stated Scope of Work, purpose of the appraisal, reporting requirements of this appraisal report
                      form, and Definition of Market Value. No additional intended Users are identified by the appraiser.
                      No employee, director, officer, or agent of the lender, or any other third party acting as joint venture partner, independent contractor, appraisal
                      management company, or partner on behalf of the lender, shall influence or attempt to influence the development, reporting, result, or review of
                      an appraisal through coercion, extortion, collusion, compensation, instruction, inducement, intimidation, bribery, or in any other manner.
                      The appraiser has not identified any purchaser, borrower or seller as an intended user of this appraisal, and no such party should use or rely on
                      this appraisal for any purpose. Such parties are advised to obtain an appraisal from an appraiser of their own choosing if they require an
                      appraisal for their own use. Any reference to or use of this appraisal report by a purchaser, borrower or seller for their own purposes, including
                      without limitation for the purposes of a property purchase decision or an appraisal contingency in a purchase agreement, is at such party’s own
                      risk and is not intended or authorized by the appraiser.
ADDITIONAL COMMENTS




                                                                                         COST APPROACH TO VALUE (not required by Fannie Mae)
                      Provide adequate information for the lender/client to replicate the below cost figures and calculations.
                      Support for the opinion of site value (summary of comparable land sales or other methods for estimating site value)
                                                                                                                         Although subject's land value exceeds 30% this
                      is considered typical for the area and has no adverse effect on market value or time. Subject's site value was based on extraction from the sales
                      comparison approach and/or land sales within the subject's market area.
COST APPROACH




                      ESTIMATED           REPRODUCTION OR          REPLACEMENT COST NEW                                  OPINION OF SITE VALUE                                                        =$        475,000
                      Source of cost data Lcl Source Ctr                                                                 DWELLING                    1,747 Sq.Ft. @ $             250.00              =$        436,750
                      Quality rating from cost service Average Effective date of cost data 04/27/2022                    Basement                      939 Sq.Ft. @ $             250.00              =$        234,750
                      Comments on Cost Approach (gross living area calculations, depreciation, etc.)                     App/Fp/Pch/Dk                                                                =$         60,000
                      Land Sale Extractions:                                                                             Garage/Carport                549 Sq.Ft. @ $              80.00              =$         43,920
                      Sale Price        Improvement          Land Value          Acre                                    Total Estimate of Cost-New                                                   =$        775,420
                      $1,150,000         $675,000            $475,000           0.29                                     Less              Physical        Functional        External
                      $1,440,000         $962,700            $477,300            0.23                                    Depreciation            119,260                                              =$(       119,260)
                      $1,680,000         $1,208,000          $472,000           0.25                                     Depreciated Cost of Improvements                                             =$        656,160
                      Subject's remaining economic life was estimated at 55 years.                                       "As-is" Value of Site Improvements                                           =$         48,000
                      Depreciation was based on economic age life 10/65 = 15.4%.
                      Estimated Remaining Economic Life (HUD and VA only)                                55 Years INDICATED VALUE BY COST APPROACH                                                    =$      1,179,160
                                                                                    INCOME APPROACH TO VALUE (not required by Fannie Mae)
INCOME




                      Estimated Monthly Market Rent $                             X Gross Rent Multiplier                        =$                                                     Indicated Value by Income Approach
                      Summary of Income Approach (including support for market rent and GRM)

                                                                                             PROJECT INFORMATION FOR PUDs (if applicable)
                      Is the developer/builder in control of the Homeowners' Association (HOA)?                Yes       No      Unit type(s)        Detached          Attached
                      Provide the following information for PUDs ONLY if the developer/builder is in control of the HOA and the subject property is an attached dwelling unit.
                      Legal Name of Project
                      Total number of phases                             Total number of units                                Total number of units sold
PUD INFORMATION




                      Total number of units rented                       Total number of units for sale                       Data source(s)
                      Was the project created by the conversion of existing building(s) into a PUD?                 Yes       No If Yes, date of conversion.
                      Does the project contain any multi-dwelling units?              Yes        No Data Source
                      Are the units, common elements, and recreation facilities complete?                  Yes        No If No, describe the status of completion.



                      Are the common elements leased to or by the Homeowners' Association?                   Yes        No If Yes, describe the rental terms and options.

                      Describe common elements and recreational facilities.


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                                                                              Form 1004UAD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE

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                                                                                                                             MIS-51938
                                          Uniform Residential Appraisal Report                                          File # 2200022536

  This report form is designed to report an appraisal of a one-unit property or a one-unit property with an accessory unit;
  including a unit in a planned unit development (PUD). This report form is not designed to report an appraisal of a
  manufactured home or a unit in a condominium or cooperative project.

  This appraisal report is subject to the following scope of work, intended use, intended user, definition of market value,
  statement of assumptions and limiting conditions, and certifications. Modifications, additions, or deletions to the intended
  use, intended user, definition of market value, or assumptions and limiting conditions are not permitted. The appraiser may
  expand the scope of work to include any additional research or analysis necessary based on the complexity of this appraisal
  assignment. Modifications or deletions to the certifications are also not permitted. However, additional certifications that do
  not constitute material alterations to this appraisal report, such as those required by law or those related to the appraiser's
  continuing education or membership in an appraisal organization, are permitted.

  SCOPE OF WORK:        The scope of work for this appraisal is defined by the complexity of this appraisal assignment and the
  reporting requirements of this appraisal report form, including the following definition of market value, statement of
  assumptions and limiting conditions, and certifications. The appraiser must, at a minimum: (1) perform a complete visual
  inspection of the interior and exterior areas of the subject property, (2) inspect the neighborhood, (3) inspect each of the
  comparable sales from at least the street, (4) research, verify, and analyze data from reliable public and/or private sources,
  and (5) report his or her analysis, opinions, and conclusions in this appraisal report.

  INTENDED USE: The intended use of this appraisal report is for the lender/client to evaluate the property that is the
  subject of this appraisal for a mortgage finance transaction.

  INTENDED USER:        The intended user of this appraisal report is the lender/client.

  DEFINITION OF MARKET VALUE:          The most probable price which a property should bring in a competitive and open
  market under all conditions requisite to a fair sale, the buyer and seller, each acting prudently, knowledgeably and assuming
  the price is not affected by undue stimulus. Implicit in this definition is the consummation of a sale as of a specified date and
  the passing of title from seller to buyer under conditions whereby: (1) buyer and seller are typically motivated; (2) both
  parties are well informed or well advised, and each acting in what he or she considers his or her own best interest; (3) a
  reasonable time is allowed for exposure in the open market; (4) payment is made in terms of cash in U. S. dollars or in terms
  of financial arrangements comparable thereto; and (5) the price represents the normal consideration for the property sold
  unaffected by special or creative financing or sales concessions* granted by anyone associated with the sale.

  *Adjustments to the comparables must be made for special or creative financing or sales concessions. No adjustments are
  necessary for those costs which are normally paid by sellers as a result of tradition or law in a market area; these costs are
  readily identifiable since the seller pays these costs in virtually all sales transactions. Special or creative financing
  adjustments can be made to the comparable property by comparisons to financing terms offered by a third party institutional
  lender that is not already involved in the property or transaction. Any adjustment should not be calculated on a mechanical
  dollar for dollar cost of the financing or concession but the dollar amount of any adjustment should approximate the market's
  reaction to the financing or concessions based on the appraiser's judgment.

  STATEMENT OF ASSUMPTIONS AND LIMITING CONDITIONS:                              The appraiser's certification in this report is
  subject to the following assumptions and limiting conditions:

  1. The appraiser will not be responsible for matters of a legal nature that affect either the property being appraised or the title
  to it, except for information that he or she became aware of during the research involved in performing this appraisal. The
  appraiser assumes that the title is good and marketable and will not render any opinions about the title.

  2. The appraiser has provided a sketch in this appraisal report to show the approximate dimensions of the improvements.
  The sketch is included only to assist the reader in visualizing the property and understanding the appraiser's determination
  of its size.

  3. The appraiser has examined the available flood maps that are provided by the Federal Emergency Management Agency
  (or other data sources) and has noted in this appraisal report whether any portion of the subject site is located in an
  identified Special Flood Hazard Area. Because the appraiser is not a surveyor, he or she makes no guarantees, express or
  implied, regarding this determination.

  4. The appraiser will not give testimony or appear in court because he or she made an appraisal of the property in question,
  unless specific arrangements to do so have been made beforehand, or as otherwise required by law.

  5. The appraiser has noted in this appraisal report any adverse conditions (such as needed repairs, deterioration, the
  presence of hazardous wastes, toxic substances, etc.) observed during the inspection of the subject property or that he or
  she became aware of during the research involved in performing the appraisal. Unless otherwise stated in this appraisal
  report, the appraiser has no knowledge of any hidden or unapparent physical deficiencies or adverse conditions of the
  property (such as, but not limited to, needed repairs, deterioration, the presence of hazardous wastes, toxic substances,
  adverse environmental conditions, etc.) that would make the property less valuable, and has assumed that there are no such
  conditions and makes no guarantees or warranties, express or implied. The appraiser will not be responsible for any such
  conditions that do exist or for any engineering or testing that might be required to discover whether such conditions exist.
  Because the appraiser is not an expert in the field of environmental hazards, this appraisal report must not be considered as
  an environmental assessment of the property.

  6. The appraiser has based his or her appraisal report and valuation conclusion for an appraisal that is subject to satisfactory
  completion, repairs, or alterations on the assumption that the completion, repairs, or alterations of the subject property will
  be performed in a professional manner.




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                                                                                                                            MIS-51938
                                         Uniform Residential Appraisal Report                                          File # 2200022536


  APPRAISER'S CERTIFICATION:          The Appraiser certifies and agrees that:

  1. I have, at a minimum, developed and reported this appraisal in accordance with the scope of work requirements stated in
  this appraisal report.

  2. I performed a complete visual inspection of the interior and exterior areas of the subject property. I reported the condition
  of the improvements in factual, specific terms. I identified and reported the physical deficiencies that could affect the
  livability, soundness, or structural integrity of the property.

  3. I performed this appraisal in accordance with the requirements of the Uniform Standards of Professional Appraisal
  Practice that were adopted and promulgated by the Appraisal Standards Board of The Appraisal Foundation and that were in
  place at the time this appraisal report was prepared.

  4. I developed my opinion of the market value of the real property that is the subject of this report based on the sales
  comparison approach to value. I have adequate comparable market data to develop a reliable sales comparison approach
  for this appraisal assignment. I further certify that I considered the cost and income approaches to value but did not develop
  them, unless otherwise indicated in this report.

  5. I researched, verified, analyzed, and reported on any current agreement for sale for the subject property, any offering for
  sale of the subject property in the twelve months prior to the effective date of this appraisal, and the prior sales of the subject
  property for a minimum of three years prior to the effective date of this appraisal, unless otherwise indicated in this report.

  6. I researched, verified, analyzed, and reported on the prior sales of the comparable sales for a minimum of one year prior
  to the date of sale of the comparable sale, unless otherwise indicated in this report.

  7. I selected and used comparable sales that are locationally, physically, and functionally the most similar to the subject property.

  8. I have not used comparable sales that were the result of combining a land sale with the contract purchase price of a home that
  has been built or will be built on the land.

  9. I have reported adjustments to the comparable sales that reflect the market's reaction to the differences between the subject
  property and the comparable sales.

  10. I verified, from a disinterested source, all information in this report that was provided by parties who have a financial interest in
  the sale or financing of the subject property.

  11. I have knowledge and experience in appraising this type of property in this market area.

  12. I am aware of, and have access to, the necessary and appropriate public and private data sources, such as multiple listing
  services, tax assessment records, public land records and other such data sources for the area in which the property is located.

  13. I obtained the information, estimates, and opinions furnished by other parties and expressed in this appraisal report from
  reliable sources that I believe to be true and correct.

  14. I have taken into consideration the factors that have an impact on value with respect to the subject neighborhood, subject
  property, and the proximity of the subject property to adverse influences in the development of my opinion of market value. I
  have noted in this appraisal report any adverse conditions (such as, but not limited to, needed repairs, deterioration, the
  presence of hazardous wastes, toxic substances, adverse environmental conditions, etc.) observed during the inspection of the
  subject property or that I became aware of during the research involved in performing this appraisal. I have considered these
  adverse conditions in my analysis of the property value, and have reported on the effect of the conditions on the value and
  marketability of the subject property.

  15. I have not knowingly withheld any significant information from this appraisal report and, to the best of my knowledge, all
  statements and information in this appraisal report are true and correct.

  16. I stated in this appraisal report my own personal, unbiased, and professional analysis, opinions, and conclusions, which
  are subject only to the assumptions and limiting conditions in this appraisal report.

  17. I have no present or prospective interest in the property that is the subject of this report, and I have no present or
  prospective personal interest or bias with respect to the participants in the transaction. I did not base, either partially or
  completely, my analysis and/or opinion of market value in this appraisal report on the race, color, religion, sex, age, marital
  status, handicap, familial status, or national origin of either the prospective owners or occupants of the subject property or of the
  present owners or occupants of the properties in the vicinity of the subject property or on any other basis prohibited by law.

  18. My employment and/or compensation for performing this appraisal or any future or anticipated appraisals was not
  conditioned on any agreement or understanding, written or otherwise, that I would report (or present analysis supporting) a
  predetermined specific value, a predetermined minimum value, a range or direction in value, a value that favors the cause of
  any party, or the attainment of a specific result or occurrence of a specific subsequent event (such as approval of a pending
  mortgage loan application).

  19. I personally prepared all conclusions and opinions about the real estate that were set forth in this appraisal report. If I
  relied on significant real property appraisal assistance from any individual or individuals in the performance of this appraisal
  or the preparation of this appraisal report, I have named such individual(s) and disclosed the specific tasks performed in this
  appraisal report. I certify that any individual so named is qualified to perform the tasks. I have not authorized anyone to make
  a change to any item in this appraisal report; therefore, any change made to this appraisal is unauthorized and I will take no
  responsibility for it.

  20. I identified the lender/client in this appraisal report who is the individual, organization, or agent for the organization that
  ordered and will receive this appraisal report.


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                                        Form 1004UAD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE

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                                                                                                                                   MIS-51938
                                           Uniform Residential Appraisal Report                                             File # 2200022536

  21. The lender/client may disclose or distribute this appraisal report to: the borrower; another lender at the request of the
  borrower; the mortgagee or its successors and assigns; mortgage insurers; government sponsored enterprises; other
  secondary market participants; data collection or reporting services; professional appraisal organizations; any department,
  agency, or instrumentality of the United States; and any state, the District of Columbia, or other jurisdictions; without having to
  obtain the appraiser's or supervisory appraiser's (if applicable) consent. Such consent must be obtained before this appraisal
  report may be disclosed or distributed to any other party (including, but not limited to, the public through advertising, public
  relations, news, sales, or other media).

  22. I am aware that any disclosure or distribution of this appraisal report by me or the lender/client may be subject to certain
  laws and regulations. Further, I am also subject to the provisions of the Uniform Standards of Professional Appraisal Practice
  that pertain to disclosure or distribution by me.

  23. The borrower, another lender at the request of the borrower, the mortgagee or its successors and assigns, mortgage
  insurers, government sponsored enterprises, and other secondary market participants may rely on this appraisal report as part
  of any mortgage finance transaction that involves any one or more of these parties.

  24. If this appraisal report was transmitted as an "electronic record" containing my "electronic signature," as those terms are
  defined in applicable federal and/or state laws (excluding audio and video recordings), or a facsimile transmission of this
  appraisal report containing a copy or representation of my signature, the appraisal report shall be as effective, enforceable and
  valid as if a paper version of this appraisal report were delivered containing my original hand written signature.

  25. Any intentional or negligent misrepresentation(s) contained in this appraisal report may result in civil liability and/or
  criminal penalties including, but not limited to, fine or imprisonment or both under the provisions of Title 18, United States
  Code, Section 1001, et seq., or similar state laws.

  SUPERVISORY APPRAISER'S CERTIFICATION:                     The Supervisory Appraiser certifies and agrees that:

  1. I directly supervised the appraiser for this appraisal assignment, have read the appraisal report, and agree with the appraiser's
  analysis, opinions, statements, conclusions, and the appraiser's certification.

  2. I accept full responsibility for the contents of this appraisal report including, but not limited to, the appraiser's analysis, opinions,
  statements, conclusions, and the appraiser's certification.

  3. The appraiser identified in this appraisal report is either a sub-contractor or an employee of the supervisory appraiser (or the
  appraisal firm), is qualified to perform this appraisal, and is acceptable to perform this appraisal under the applicable state law.

  4. This appraisal report complies with the Uniform Standards of Professional Appraisal Practice that were adopted and
  promulgated by the Appraisal Standards Board of The Appraisal Foundation and that were in place at the time this appraisal
  report was prepared.

  5. If this appraisal report was transmitted as an "electronic record"             containing my "electronic signature," as those terms are
  defined in applicable federal and/or state laws (excluding audio and              video recordings), or a facsimile transmission of this
  appraisal report containing a copy or representation of my signature,              the appraisal report shall be as effective, enforceable and
  valid as if a paper version of this appraisal report were delivered               containing my original hand written signature.




APPRAISER                                                                       SUPERVISORY APPRAISER (ONLY IF REQUIRED)

Signature                                                                       Signature
Name William Burns                                                              Name
Company Name          Crest Appraisal Services                                  Company Name
Company Address          126 SW 148th St, #C100-276                             Company Address
                         Seattle, WA 98148-1966
Telephone Number         (206) 242-2675                                         Telephone Number
Email Address       crestappraisals@yahoo.com                                   Email Address
Date of Signature and Report          04/28/2022                                Date of Signature
Effective Date of Appraisal        04/27/2022                                   State Certification #
State Certification #      1701454                                              or State License #
or State License #                                                              State
or Other (describe)                              State #                        Expiration Date of Certification or License
State WA
Expiration Date of Certification or License       06/07/2023                    SUBJECT PROPERTY

ADDRESS OF PROPERTY APPRAISED                                                         Did not inspect subject property
 4534 NE 204th Pl
                                                                                      Did inspect exterior of subject property from street
                                                                                      Date of Inspection
 Lake Forest Park, WA 98155
APPRAISED VALUE OF SUBJECT PROPERTY $                                                 Did inspect interior and exterior of subject property
                                                        1,225,000
                                                                                      Date of Inspection
LENDER/CLIENT
Name Mortgage Information Services, Inc
                                                                                COMPARABLE SALES
Company Name    Finance Of America Reverse LLC
Company Address    8023 East 63rd Place, Suite 700, Tulsa , OK                        Did not inspect exterior of comparable sales from street
                   74133                                                              Did inspect exterior of comparable sales from street
Email Address                                                                         Date of Inspection



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                                          Form 1004UAD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE

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                                                                                                                                                                                        MIS-51938
                                                                                   Uniform Residential Appraisal Report                                                          File # 2200022536
                                        FEATURE                     SUBJECT            COMPARABLE SALE # 4                              COMPARABLE SALE # 5                              COMPARABLE SALE # 6
                            Address      4534 NE 204th Pl                       20418 33rd Ave NE                                 19548 47th Ave NE                              5118 NE 201st Pl
                                         Lake Forest Park, WA 98155             Lake Forest Park, WA 98155                        Lake Forest Park, WA 98155                     Lake Forest Park, WA 98155
                            Proximity to Subject                                0.59 miles W                                      0.39 miles SE                                  0.30 miles SE
                            Sale Price                    $                                        $        1,050,000                              $     1,461,000                                    $        1,375,000
                            Sale Price/Gross Liv. Area    $              sq.ft. $    522.39 sq.ft.                                $ 1197.54 sq.ft.                               $      975.18 sq.ft.
                            Data Source(s)                                      NWMLS#1866237;DOM 1                               NWMLS#1811853;DOM 8                            NWMLS#1908861;DOM 6
                            Verification Source(s)                              Realist/KingCountyWebsite                         Realist/KingCountyWebsite                      Realist/KingCountyWebsite
                            VALUE ADJUSTMENTS                 DESCRIPTION          DESCRIPTION       +(-) $ Adjustment               DESCRIPTION   +(-) $ Adjustment                 DESCRIPTION        +(-) $ Adjustment
                            Sales or Financing                                  ArmLth                                            ArmLth                                         Listing
                            Concessions                                         Conv;0                                            Conv;0                                         0;0
                            Date of Sale/Time                                   s12/21;c11/21                 +52,500             s08/21;c07/21           +131,490               c04/22                          +68,750
                            Location                      N;Res;                A;BsyRd;                      +50,000             N;Res;                                         N;Res;
SALES COMPARISON APPROACH




                            Leasehold/Fee Simple          Fee Simple            Fee Simple                                        Fee Simple                                     Fee Simple
                            Site                          9626 sf               11448 sf                               0          15261 sf                   -45,080             9600 sf                                  0
                            View                          N;Res;                N;Res;                                            N;Res;                                         N;Res;
                            Design (Style)                DT2;Contemp           DT2;Contemp                                       DT1;Contemp                        0           DT1;Contemp                              0
                            Quality of Construction       Q4                    Q4                                                Q3                       -200,000              Q4
                            Actual Age                    18                    43                                     0          59                                 0           58                                       0
                            Condition                     C3                    C3                            +75,000             C2                       -150,000              C3
                            Above Grade                    Total Bdrms. Baths Total Bdrms. Baths                       0           Total Bdrms. Baths                             Total Bdrms. Baths                      0
                            Room Count                       6      1    1.1      8     4    2.0                -6,000               5    0   0.1                   +12,000         5      2   2.0                  -6,000
                            Gross Living Area                    1,747 sq.ft.         2,010 sq.ft.             -28,930                  1,220 sq.ft.                +57,970              1,410 sq.ft.            +37,070
                            Basement & Finished           939sf939sfwo          700sf700sfwo                  +26,290             1220sf1220sfwo                    -30,910      1300sf1300sfwo                   -39,710
                            Rooms Below Grade             0rr3br1.0ba0o 1rr1br1.0ba0o                                  0          1rr3br2.0ba0o                     -12,000      1rr2br0.1ba1o                     +6,000
                            Functional Utility            Average               Average                                           Average                                        Average
                            Heating/Cooling               FWA/None              FWA/None                                          FWA/None                                       FWA/None
                            Energy Efficient Items        Duopane Wind Duopane Wind                                               Duopane Wind                                   Duopane Wind
                            Garage/Carport                2gbi2dw               2gbi2dw                                           2ga2dw                                     0   2ga2dw                                   0
                            Porch/Patio/Deck              Porch/Pat/Deck Porch/Pat/Deck                                           Porch/Pat/Deck                                 Porch/Pat/Deck




                            Net Adjustment (Total)                                                 +         - $              168,860              +       - $            -236,530                +       - $          66,110
                            Adjusted Sale Price                                           Net Adj.      16.1  %                           Net Adj.    16.2  %                            Net Adj.       4.8 %
                            of Comparables                                                Gross Adj. 22.7 % $              1,218,860 Gross Adj. 43.8 % $                 1,224,470 Gross Adj. 11.5 % $              1,441,110
                            Report the results of the research and analysis of the prior sale or transfer history of the subject property and comparable sales (report additional prior sales on page 3).
                                              ITEM                                     SUBJECT                         COMPARABLE SALE # 4                   COMPARABLE SALE # 5                      COMPARABLE SALE # 6
                            Date of Prior Sale/Transfer
                            Price of Prior Sale/Transfer
SALE HISTORY




                            Data Source(s)                              County Records/NWMLS                    County Records/NWMLS                   County Records/NWMLS                      County Records/NWMLS
                            Effective Date of Data Source(s)            04/27/2022                              04/27/2022                             04/27/2022                                04/27/2022
                            Analysis of prior sale or transfer history of the subject property and comparable sales




                            Analysis/Comments
ANALYSIS / COMMENTS




   Freddie Mac Form 70 March 2005                                                                             UAD Version 9/2011                                                   Fannie Mae Form 1004 March 2005



                                                                              Form 1004UAD.(AC) - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE

                                        Case 22-10025-TWD                           Doc 46-1             Filed 07/08/22                  Ent. 07/08/22 16:44:19                        Pg. 10 of 53
                                                                                                                                                                                                MIS-51938
                                                                        Market Conditions Addendum to the Appraisal Report                                                               File No. 2200022536
                             The purpose of this addendum is to provide the lender/client with a clear and accurate understanding of the market trends and conditions prevalent in the subject
                             neighborhood. This is a required addendum for all appraisal reports with an effective date on or after April 1, 2009.
                             Property Address         4534 NE 204th Pl                                                          City Lake Forest Park                            State WA           ZIP Code 98155
                             Borrower Joan Raider Rawlings
                             Instructions: The appraiser must use the information required on this form as the basis for his/her conclusions, and must provide support for those conclusions, regarding
                             housing trends and overall market conditions as reported in the Neighborhood section of the appraisal report form. The appraiser must fill in all the information to the extent
                             it is available and reliable and must provide analysis as indicated below. If any required data is unavailable or is considered unreliable, the appraiser must provide an
                             explanation. It is recognized that not all data sources will be able to provide data for the shaded areas below; if it is available, however, the appraiser must include the data
                             in the analysis. If data sources provide the required information as an average instead of the median, the appraiser should report the available figure and identify it as an
                             average. Sales and listings must be properties that compete with the subject property, determined by applying the criteria that would be used by a prospective buyer of the
                             subject property. The appraiser must explain any anomalies in the data, such as seasonal markets, new construction, foreclosures, etc.
                             Inventory Analysis                                              Prior 7–12 Months            Prior 4–6 Months            Current – 3 Months                            Overall Trend
                             Total # of Comparable Sales (Settled)                                   57                           18                           18                    Increasing        Stable         Declining
                             Absorption Rate (Total Sales/Months)                                   9.50                         6.00                         6.00                   Increasing        Stable         Declining
                             Total # of Comparable Active Listings                                    1                            1                            5                    Declining         Stable         Increasing
                             Months of Housing Supply (Total Listings/Ab.Rate)                      0.11                         0.17                         0.83                   Declining         Stable         Increasing
                             Median Sale & List Price, DOM, Sale/List %                      Prior 7–12 Months            Prior 4–6 Months            Current – 3 Months                            Overall Trend
                             Median Comparable Sale Price                                       $895,000                     $907,500                     $990,500                   Increasing        Stable         Declining
                             Median Comparable Sales Days on Market                                   6                            6                            5                    Declining         Stable         Increasing
                             Median Comparable List Price                                                                                                                            Increasing        Stable         Declining
MARKET RESEARCH & ANALYSIS




                                                                                                $690,000                     $737,000                    $1,100,000
                             Median Comparable Listings Days on Market                               12                           27                            0                    Declining         Stable         Increasing
                             Median Sale Price as % of List Price                                106.53%                     103.88%                       122.00%                   Increasing        Stable         Declining
                             Seller-(developer, builder, etc.)paid financial assistance prevalent?              Yes           No                                                     Declining         Stable         Increasing
                             Explain in detail the seller concessions trends for the past 12 months (e.g., seller contributions increased from 3% to 5%, increasing use of buydowns, closing costs, condo
                             fees, options, etc.).         Appraiser is unable to verify seller concessions due to lack of available data.




                             Are foreclosure sales (REO sales) a factor in the market?
                                                                               Yes      No    If yes, explain (including the trends in listings and sales of foreclosed properties).
                             The North West Multiple Listing Service MLS reported no foreclosures or short sales between 04/27/2021 and 04/27/2022.




                             Cite data sources for above information.
                                                                  The Market Conditions Addenda was completed with data from North West Multiple Listing Service MLS
                             with an effective date of 04/27/2022.

                             Summarize the above information as support for your conclusions in the Neighborhood section of the appraisal report form. If you used any additional information, such as
                             an analysis of pending sales and/or expired and withdrawn listings, to formulate your conclusions, provide both an explanation and support for your conclusions.
                             Using the general data from the subjects neighborhood excluding any factors not considered typical to the subjects characteristics. Original
                             list prices over a 12 month period are not readily available, list prices at time of status were used instead. Median List To Sale price ratio is
                             determined by median price of comparable homes listed divided by the median price of those homes sold during that same time period.
                             Probable Trends indicate market values increasing with the absorption rate to continue to decline as well as number of current listings. Data
                             is derived from the Multiple Listing Service.




                             If the subject is a unit in a condominium or cooperative project , complete the following:                                           Project Name:
                             Subject Project Data                                         Prior 7–12 Months           Prior 4–6 Months            Current – 3 Months                              Overall Trend
                             Total # of Comparable Sales (Settled)                                                                                                                Increasing         Stable           Declining
                             Absorption Rate (Total Sales/Months)                                                                                                                 Increasing         Stable           Declining
                             Total # of Active Comparable Listings                                                                                                                Declining          Stable           Increasing
                             Months of Unit Supply (Total Listings/Ab.Rate)                                                                                                       Declining          Stable           Increasing
                             Are foreclosure sales (REO sales) a factor in the project?            Yes           No     If yes, indicate the number of REO listings and explain the trends in listings and sales of
CONDO/CO-OP PROJECTS




                             foreclosed properties.




                             Summarize the above trends and address the impact on the subject unit and project.




                             Signature                                                                  Signature
                             Appraiser Name        William Burns                                        Supervisory Appraiser Name
APPRAISER




                             Company Name          Crest Appraisal Services                             Company Name
                             Company Address                                                            Company Address
                                                       126 SW 148th St, #C100-276, Seattle, WA 98148-1966
                             State License/Certification # 1701454                  State WA            State License/Certification #                                                                State
                             Email Address      crestappraisals@yahoo.com                                                       Email Address
                                Freddie Mac Form 71 March 2009                                                 Page 1 of 1                                              Fannie Mae Form 1004MC March 2009


                                                                               Form 1004MC2 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE

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                                                                                                                                   MIS-51938
                                                                                                                        File No.   2200022536

                          UNIFORM APPRAISAL DATASET (UAD) DEFINITIONS ADDENDUM
                                (Source: Fannie Mae UAD Appendix D: UAD Field-Specific Standardization Requirements)

Condition Ratings and Definitions

C1
The improvements have been very recently constructed and have not previously been occupied. The entire structure and all components are new
and the dwelling features no physical depreciation.*


*Note: Newly constructed improvements that feature recycled materials and/or components can be considered new dwellings provided that the
dwelling is placed on a 100% new foundation and the recycled materials and the recycled components have been rehabilitated/re-manufactured
into like-new condition. Recently constructed improvements that have not been previously occupied are not considered “new” if they have any
significant physical depreciation (i.e., newly constructed dwellings that have been vacant for an extended period of time without adequate
maintenance or upkeep).


C2
The improvements feature no deferred maintenance, little or no physical depreciation, and require no repairs. Virtually all building components
are new or have been recently repaired, refinished, or rehabilitated. All outdated components and finishes have been updated and/or replaced
with components that meet current standards. Dwellings in this category either are almost new or have been recently completely renovated and
are similar in condition to new construction.

C3
The improvements are well maintained and feature limited physical depreciation due to normal wear and tear. Some components, but not every
major building component, may be updated or recently rehabilitated. The structure has been well maintained.

C4
The improvements feature some minor deferred maintenance and physical deterioration due to normal wear and tear. The dwelling has been
adequately maintained and requires only minimal repairs to building components/mechanical systems and cosmetic repairs. All major building
components have been adequately maintained and are functionally adequate.

C5
The improvements feature obvious deferred maintenance and are in need of some significant repairs. Some building components need repairs,
rehabilitation, or updating. The functional utility and overall livability is somewhat diminished due to condition, but the dwelling remains
useable and functional as a residence.

C6
The improvements have substantial damage or deferred maintenance with deficiencies or defects that are severe enough to affect the safety,
soundness, or structural integrity of the improvements. The improvements are in need of substantial repairs and rehabilitation, including many
or most major components.




Quality Ratings and Definitions

Q1
Dwellings with this quality rating are usually unique structures that are individually designed by an architect for a specified user. Such
residences typically are constructed from detailed architectural plans and specifications and feature an exceptionally high level of workmanship
and exceptionally high-grade materials throughout the interior and exterior of the structure. The design features exceptionally high-quality
exterior refinements and ornamentation, and exceptionally high-quality interior refinements. The workmanship, materials, and finishes
throughout the dwelling are of exceptionally high quality.

Q2
Dwellings with this quality rating are often custom designed for construction on an individual property owner’s site. However, dwellings in
this quality grade are also found in high-quality tract developments featuring residence constructed from individual plans or from highly
modified or upgraded plans. The design features detailed, high quality exterior ornamentation, high-quality interior refinements, and detail. The
workmanship, materials, and finishes throughout the dwelling are generally of high or very high quality.

Q3
Dwellings with this quality rating are residences of higher quality built from individual or readily available designer plans in above-standard
residential tract developments or on an individual property owner’s site. The design includes significant exterior ornamentation and interiors
that are well finished. The workmanship exceeds acceptable standards and many materials and finishes throughout the dwelling have been
upgraded from “stock” standards.

Q4
Dwellings with this quality rating meet or exceed the requirements of applicable building codes. Standard or modified standard building plans
are utilized and the design includes adequate fenestration and some exterior ornamentation and interior refinements. Materials, workmanship,
finish, and equipment are of stock or builder grade and may feature some upgrades.




                                                                   UAD Version 9/2011

                                       Form UADDEFINE - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE

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                          UNIFORM APPRAISAL DATASET (UAD) DEFINITIONS ADDENDUM
                                (Source: Fannie Mae UAD Appendix D: UAD Field-Specific Standardization Requirements)

Quality Ratings and Definitions (continued)

Q5
Dwellings with this quality rating feature economy of construction and basic functionality as main considerations. Such dwellings feature a
plain design using readily available or basic floor plans featuring minimal fenestration and basic finishes with minimal exterior ornamentation
and limited interior detail. These dwellings meet minimum building codes and are constructed with inexpensive, stock materials
with limited refinements and upgrades.

Q6
Dwellings with this quality rating are of basic quality and lower cost; some may not be suitable for year-round occupancy. Such dwellings
are often built with simple plans or without plans, often utilizing the lowest quality building materials. Such dwellings are often built or
expanded by persons who are professionally unskilled or possess only minimal construction skills. Electrical, plumbing, and other mechanical
systems and equipment may be minimal or non-existent. Older dwellings may feature one or more substandard or non-conforming additions
to the original structure




Definitions of Not Updated, Updated, and Remodeled

Not Updated
           Little or no updating or modernization. This description includes, but is not limited to, new homes.
           Residential properties of fifteen years of age or less often reflect an original condition with no updating, if no major
           components have been replaced or updated. Those over fifteen years of age are also considered not updated if the
           appliances, fixtures, and finishes are predominantly dated. An area that is ‘Not Updated’ may still be well maintained
           and fully functional, and this rating does not necessarily imply deferred maintenance or physical/functional deterioration.

Updated
           The area of the home has been modified to meet current market expectations. These modifications
           are limited in terms of both scope and cost.
           An updated area of the home should have an improved look and feel, or functional utility. Changes that constitute
           updates include refurbishment and/or replacing components to meet existing market expectations. Updates do not
           include significant alterations to the existing structure.

Remodeled
           Significant finish and/or structural changes have been made that increase utility and appeal through
           complete replacement and/or expansion.
           A remodeled area reflects fundamental changes that include multiple alterations. These alterations may include
           some or all of the following: replacement of a major component (cabinet(s), bathtub, or bathroom tile), relocation
           of plumbing/gas fixtures/appliances, significant structural alterations (relocating walls, and/or the addition of)
           square footage). This would include a complete gutting and rebuild.




Explanation of Bathroom Count

           Three-quarter baths are counted as a full bath in all cases. Quarter baths (baths that feature only a toilet) are not
           included in the bathroom count. The number of full and half baths is reported by separating the two values using a
           period, where the full bath count is represented to the left of the period and the half bath count is represented to the
           right of the period.


           Example:
           3.2 indicates three full baths and two half baths.




                                                                    UAD Version 9/2011

                                       Form UADDEFINE - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE

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                      UNIFORM APPRAISAL DATASET (UAD) DEFINITIONS ADDENDUM
                           (Source: Fannie Mae UAD Appendix D: UAD Field-Specific Standardization Requirements)

Abbreviations Used in Data Standardization Text

    Abbreviation                               Full Name                                       Fields Where This Abbreviation May Appear
 ac                    Acres                                                             Area, Site
 AdjPrk                Adjacent to Park                                                  Location
 AdjPwr                Adjacent to Power Lines                                           Location
 A                     Adverse                                                           Location & View
 ArmLth                Arms Length Sale                                                  Sale or Financing Concessions
 ba                    Bathroom(s)                                                       Basement & Finished Rooms Below Grade
 br                    Bedroom                                                           Basement & Finished Rooms Below Grade
 B                     Beneficial                                                        Location & View
 Cash                  Cash                                                              Sale or Financing Concessions
 CtySky                City View Skyline View                                            View
 CtyStr                City Street View                                                  View
 Comm                  Commercial Influence                                              Location
 c                     Contracted Date                                                   Date of Sale/Time
 Conv                  Conventional                                                      Sale or Financing Concessions
 CrtOrd                Court Ordered Sale                                                Sale or Financing Concessions
 DOM                   Days On Market                                                    Data Sources
 e                     Expiration Date                                                   Date of Sale/Time
 Estate                Estate Sale                                                       Sale or Financing Concessions
 FHA                   Federal Housing Authority                                         Sale or Financing Concessions
 GlfCse                Golf Course                                                       Location
 Glfvw                 Golf Course View                                                  View
 Ind                   Industrial                                                        Location & View
 in                    Interior Only Stairs                                              Basement & Finished Rooms Below Grade
 Lndfl                 Landfill                                                          Location
 LtdSght               Limited Sight                                                     View
 Listing               Listing                                                           Sale or Financing Concessions
 Mtn                   Mountain View                                                     View
 N                     Neutral                                                           Location & View
 NonArm                Non-Arms Length Sale                                              Sale or Financing Concessions
 BsyRd                 Busy Road                                                         Location
 o                     Other                                                             Basement & Finished Rooms Below Grade
 Prk                   Park View                                                         View
 Pstrl                 Pastoral View                                                     View
 PwrLn                 Power Lines                                                       View
 PubTrn                Public Transportation                                             Location
 rr                    Recreational (Rec) Room                                           Basement & Finished Rooms Below Grade
 Relo                  Relocation Sale                                                   Sale or Financing Concessions
 REO                   REO Sale                                                          Sale or Financing Concessions
 Res                   Residential                                                       Location & View
 RH                    USDA - Rural Housing                                              Sale or Financing Concessions
 s                     Settlement Date                                                   Date of Sale/Time
 Short                 Short Sale                                                        Sale or Financing Concessions
 sf                    Square Feet                                                       Area, Site, Basement
 sqm                   Square Meters                                                     Area, Site
 Unk                   Unknown                                                           Date of Sale/Time
 VA                    Veterans Administration                                           Sale or Financing Concessions
 w                     Withdrawn Date                                                    Date of Sale/Time
 wo                    Walk Out Basement                                                 Basement & Finished Rooms Below Grade
 wu                    Walk Up Basement                                                  Basement & Finished Rooms Below Grade
 WtrFr                 Water Frontage                                                    Location
 Wtr                   Water View                                                        View
 Woods                 Woods View                                                        View

Other Appraiser-Defined Abbreviations

    Abbreviation                               Full Name                                       Fields Where This Abbreviation May Appear




                                                              UAD Version 9/2011

                                  Form UADDEFINE - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE

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                                             Supplemental Addendum                                                  File No. 2200022536
Borrower           Joan Raider Rawlings
Property Address   4534 NE 204th Pl
City               Lake Forest Park                            County King                                   State WA    Zip Code 98155
Lender/Client      Finance Of America Reverse LLC

                                                     APPRAISAL ADDENDUM
 Appraiser Independence Compliance Statement: No employee, director, officer, or agent of the lender, or any other third party
 acting as a joint venture partner, independent contractor, appraisal management company, or partner on behalf of the Lender
 has influenced or attempted to influence the development, reporting, result, or review of this assignment through coercion,
 extortion, collusion, compensation, instruction, inducement, intimidation, bribery or in any other manner. I have not been
 contacted by anyone other than the (Lender/Client as identified on the first page of the report), borrower, or designated contact
 to make an appointment to enter the property. I agree to immediately report any unauthorized contacts personally either by
 phone or electronically to the Client.

 Physical Deficiencies or Conditions
 The Appraiser is not an engineer, nor a home inspector. The estimated value of the subject property is based on the assumption
 that the property is not negatively affected by the existance of detrimental physical and/or any other detrimental conditions of
 any kind. Appraiser views subject roof from the ground only.
 Every purchaser/home owner of any interest in residential real property on which a residential dwelling was built prior to 1978 is
 notified that such property may present exposure to lead from lead-based paint that may place young children at risk of
 developing lead poisoning. Lead poisoning in young children may produce permanent neurological damage, including learning
 disabilities, reduced intelligence quotient, behavioral problems, and impaired memory. Lead poisoning also poses a particular
 risk to pregnant women. The seller of any interest in residential real property is required to provide the buyer with any
 information on lead-based paint hazards from risk assessments or inspections in the seller’s possession and notify the buyer of
 any known lead-based paint hazards. A risk assessment or inspection for possible lead-based paint hazards is recommended
 prior to purchase.

 Clarification On Measured Building Area Versus County Records Reported Building Area
 All areas of the exterior of the subject were visually inspected that were unobstructed by materials, shrubbery, or other
 obstructions was performed. The exterior of the subject was measured with a Leica Disto laser measuring device and the results
 were transferred to the Total Sketch program with all measurements rounded to the nearest 6". Any discrepancy between the
 reported GLA from the County Records and the reported GLA from the calculated area taken from the measurements made of
 the structure by the appraiser is due to differences in measurement techniques, rounding and calculation differences between
 the County and the software utilized for this report. The results of the field inspection have been summarily reported.
 (ANSI)Finished areas that are connected to the main body of the house by other finished areas such as hallways or stairways
 are included in the finished square footage of the floor that is at the same level. Finished areas that are not connected to the
 house in such a manner cannot be included in the finished square footage of any level.
 Appraiser uses the following rules when measuring square footage for Attics, Loft and Low Ceilings. Attics, Lofts and Low
 (ANSI) Ceilings Level ceilings must be at least 7 feet high, and at least 6 feet 4 inches under beams, ducts and other
 obstructions. There is no height restriction under stairs. If a room has a sloped ceiling, at least one-half of the finished floor area
 must have a ceiling height of at least 7 feet. Otherwise, appraiser will omit the entire room from the floor area calculations. If a
 room with a sloped ceiling meets the one-half-of-floor-area-over-7-feet requirement, then include all the floor space with a
 ceiling height over 5 feet. Lofts and finished attics must be accessible by a conventional stairway or other access to be counted.
 If you can only reach the loft by climbing a ladder, it’s not part of the finished floor area regardless of the ceiling height.
 (Fannie Mae) Basements including those that are partially below grade, must NOT be included in the above-grade room count.
 Only finished above-grade areas can be used in calculating and reporting of above-grade room count and square footage for
 the gross living area. Fannie Mae considers a level to be below-grade if any portion of it is below-grade, regardless of the quality
 of its finish or the window area of any room. Therefore, a walk-out basement with finished rooms would not be included in the
 above-grade room count. Rooms that are not included in the above-grade room count may add substantially to the value of a
 property, particularly when the quality of the finish is high. For that reason, the appraiser should report the basement or other
 partially below-grade areas separately and make appropriate adjustments for them on the Basement & Finished Rooms
 Below-Grade line in the Sales Comparison Approach adjustment grid.
 For consistency in the sales comparison analysis, the appraiser should compare above-grade areas to above-grade areas and
 below-grade areas to below-grade areas. The appraiser may need to deviate from this approach if the style of the subject
 property or any of the comparables does not lend itself to such comparisons.

 Scope of the Appraisal
 The appraiser has researched and analyzed market trends, local and regional influences and has considered other significant
 factors known and/or made known to the appraiser, which are judged to be pertinent to the subject's property as well as any
 comparable sales indicated in the report.
 The following steps were followed in arriving at the final estimate of value included in the report of the subject property:
 1.) Information about the subject property was obtained from public records through use of either Realist, County Records and
    other similar sources of public records in the county where the subject is located. In most cases, this information includes
 the age of the improvements, the last date of sale, the tax account number and a partial legal description, the assessed
 value of the land and improvements, the assessor's map showing a sketch of the site, and similar information about
 properties in the neighborhood.
 2.) Where reasonable possible, sales data has been verified with more than one source. When necessary, conversations with
    parties involved with the transaction have been conducted in order to confirm the data and atypical influences affecting the
  sales transaction.
 3.) The subject census tract and flood data was obtained from sources such as Interflood and are deemed to be reliable.
 4.) A physical inspection was made of the subject property with an analysis made of the neighborhood, the site and
   improvements. This inspection and analysis included the consideration of any known factors, which, in the appraiser's
 opinion, would have impact on the value of the subject property.
 5.) The Sales Comparison Approach was considered using the available market sales data utilizing Realist, County Records,
    Northwest Multiple Listing Service and/or other sources. Selections were made of recent comparable sales, which were
  then compared to the subject property to reach an estimate of market value via Direct Sales Comparison Approach to
 value. An exterior only inspection was made of comparable sales usually from the street. Some comparable photos may or
 may not have been used from alternate sources best depicting the comparables true condition at time of sale/listing, and in
 some cases comparables may not be viewable from the street or appraiser was denied photos by home owners.
 6.) When required, the Cost Approach to Value was considered using costs derived from local contractors and other sources.
    The site value (if included) was derived from the allocation method utilizing sales of the properties that have sold within the
  past twelve months.
 7.) The Income Approach to Value was not considered in most cases, this approach was not applicable as most single family
   residences are not typically purchased as income producing properties and there was insufficient data available to use this
 approach. In those cases where the subject property will be used and/or currently used as an income producing property, a



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                                             Supplemental Addendum                                                  File No. 2200022536
Borrower           Joan Raider Rawlings
Property Address   4534 NE 204th Pl
City               Lake Forest Park                            County King                                   State WA    Zip Code 98155
Lender/Client      Finance Of America Reverse LLC
 rental analysis should be requested by the user.
 8.) Each appraisal assignment executed by this Appraiser requires intimate knowledge of the area in which the subject
 property is located, known in the Appraisal Profession as "geographical competency". This Appraiser has spent sufficient time in
 this market and understands its nuances, including the supply and demand factors relevant to the subject property. Such
 competency requires this Appraiser's understanding of local market conditions based upon years of on site knowledge,
 providing the link between a sale and legitimate comparable sales or a rental and comparable rentals. John McCurdy is a
 Washington state licensed appraiser, license #1601190, working in the same office as the Appraiser and contributed significant
 professional appraisal assistance in regards to Appraiser's Certification items 1-25.

 Additional Clarification of Scope Of Work
 At the request of the client, this appraisal report has been prepared in compliance with the Uniform Appraisal Dataset (UAD)
 from Fannie Mae and Freddie Mac. The UAD requires the appraiser to use standard responses that include specific formats,
 definitions, abbreviations, and acronyms. The appraiser attempted to obtain adequate amount of information in the normal
 course of bussiness regarding the subject and comparable properties. Some of the standardized responses required by the
 UAD, especially those in which the appraiser has not had the opportunity to verify personally or measure, could mistakenly imply
 greater precision and reliability in the data than is factually correct or typical in the normal course of bussiness. Examples
 include condition and quality ratings as well as comparable sales and listing data. The appraiser makes no representations
 guarantees or warranties, express or implied, regarding building materials, their fitness, quality, condition or remaining
 economic age life. Not every element of the subject property was viewable. The appraiser did not move any personal property
 due to liability concerns for potential damage to the property, to disclose or reveal any apparent or hidden defects to the
 structure, nor did the appraiser dismantle or probe the structure to observe enclosed encased or otherwise concealed areas.
 Comparable data was generally obtained from third-party sources including but not limited to the local northwest multiple listing
 service, county assessor/website, online resources and additional public data sources. Consequently the information on the
 comparables should be considered an estimate unless otherwise noted by the appraiser.

 Trend Analysis
 Market trends for this appraisal have been reported and discussed on the appraisal report in the neighborhood analysis and the
 general market condition sections of the appraisal form.

 Highest & Best Use
 Consideration has been given of the highest and best use of the subject as presently zoned and currently improved. The highest
 and best use of a site is, the reasonable and probable use that supports the highest present value on the effective date of the
 appraisal. When determining highest and best use, each potential use must be physically possible, legally permissible,
 financially feasible and maximally productive.

 Exposure Time:
 Exposure time is always presumed to precede the effective date of the appraisal. It is the estimated length of time the property
 would have been offered on the market, prior to the hypothetical sale, at the appraised value, on the effective date of the
 appraisal. It is a retrospective estimate based on an analysis of past events assuming a competitive and open market.

 This includes not only adequate, sufficient and reasonable time, but adequate sufficient and reasonable effort. It is often
 expressed as a range and is based upon statistical information about days on market obtained through the NW Mls and
 information gathered from sales verification and local MC form data for the subject neighborhood.

 A reasonable exposure time for the subject property developed independently from the stated marketing time is: 0-180 days
 based on the days on market for the comparables. Exposure time is the estimated length of time that the property interest being
 appraised would have been offered on the market prior to the hypothetical consummation of a sale date at market value on the
 effective date of the appraisal. The opinion of exposure time is a retrospective opinion based on an analysis of past events
 assuming a competitive and open market.

 Disclosure and discussion of paired data analysis and adjustments:
 Not all adjustments in the Sales Comparison Approach can be directly extracted or supported by the available market data with
 a high degree of accuracy due to limited sales, unique situations and comparability of features. Some adjustments have an
 element of subjectivity and professional judgement which the appraiser has applied based on prior observations of the reactions
 of typical/knowledgeable buyers and sellers in the marketplace. This method is a standard and well accepted practice within the
 appraisal industry. All interested parties are encourged to have an understanding of basic valuation practices when appraising
 atypical or complex properties; or where there is an extreme absence of like elements of comparison.
 Appraising Residential Properties, 4th Edition, Appraisal Institute, Page 342, "Limitations of Paired Data Analyses" states:
 "...This brief discussion of paired data analysis may seem to suggest that identifying the effects of property differences from
 market data is a straightforward procedure that can produce accurate, complete mathematical results in all appraisals." Such an
 impression would be misleading. Appraisers develop an opinion of market value by applying their judgement to the analysis and
 interpretation of data. Paired data analys is a tool that an appraiser can apply to market data in some circumstances. When
 used in conjunction with other analytical tools, this type of analysis supports and guides the appraiser's judgement, but it does
 not take its place.
 Perfect sets of comparables that vary in a single, idetifiable respect are rarely found. Because properties that are sufficiently
 similar to the subject are usually limited in number, the decision to apply paired data analysis in a given situation is a matter of
 judgement. Often the sampling size may not be large enough to provide a solid statistical foundation for the appraiser's
 conclussions.
 Nevertheless, paired data procedures are important valuation tools that appraisers should use whenever possible. Identifying
 matched data sets and isolating the effects of variables is a practical methodology for studying market data, even if a
 comprehensive paired data analysis cannot be performed. When only a narrow sampling of market data is available, which
 would not lend itself to statistical analysis, paired data analysis can be used to test the results of other analytical procedures..."
 Appraising Residential Properties, 4th Edition, Appraisal Institute, Page 344, "Other Quantitative Adjustment Techniques further
 states that in instances where paired sales analysis in not conclusive, the appraiser may apply judgement to resolve the
 problem." The adjustments resulting from the appraiser's judgement is based on a study and understanding of buyer
 preferences. It further suggests that cost and depreciated cost data may be used with the appraiser arriving at the value
 contribution of certain ammenities. In effect, the sales grid found in any pre-printed residential reporting forms afford every
 appraiser a convientant "paired sale format" and should make pairing the sales easy.

 Additional Safety Information
 RCW 19.27.530



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                                             Supplemental Addendum                                                  File No. 2200022536
Borrower           Joan Raider Rawlings
Property Address   4534 NE 204th Pl
City               Lake Forest Park                            County King                                   State WA    Zip Code 98155
Lender/Client      Finance Of America Reverse LLC

 Carbon monoxide alarms-Requirements-Exemptions-Adoption of rules.
           (1) By July 1, 2010, the building code council shall adopt rules requiring that all buildings classified as residential
 occupancies, as defined in the state building code in chapter 51-54 WAC, but excluding owner-occupied single-family
 residences legally occupied before July 26, 2009, be equipped with carbon monoxide alarms.
           (2)(a) The building code council may phase in the carbon monoxide alarm requirements on a schedule that it
 determines reasonable, provided that the rules require that by January 1, 2011, all newly constructed buildings classified as
 residential occupancies will be equipped with carbon monoxide alarms, and all other buildings classified as residential
 occupancies will be equipped with carbon monoxide alarms by January 1, 2013.
           (b) Owner-occupied single-family residences legally occupied before July 26, 2009, are exempt from the requirements
 of this subsection (2). However, for any owner-occupied single-family residence that is sold on or after July 26, 2009, the seller
 must equip the residence with carbon monoxide alarms in accordance with the requirements of the state building code before
 the buyer or any other person may legally occupy the residence following such sale.
           (3) The building code council may exempt categories of buildings classified as residential occupancies if it determines
 that requiring carbon monoxide alarms are unnecessary to protect the health and welfare of the occupants.
           (4) The rules adopted by the building code council under this section must (a) consider applicable nationally accepted
 standards and (b) require that the maintenance of a carbon monoxide alarm in a building where a tenancy exists, including the
 replacement of batteries, is the responsibility of the tenant, who shall maintain the alarm as specified by the manufacturer.
           (5) Real estate brokers licensed under chapter 18.85 RCW shall not be liable in any civil, administrative, or other
 proceeding for the failure of any seller or other property owner to comply with the requirements of this section or rules adopted
 by the building code council.
 As per Washington State law (RCW 43.44.110) requires smoke alarms to be installed in all dwelling units.
 As per WAC 51-56-0507.2 Seismic Provisions. Water heaters shall be anchored or strapped to resist horizontal displacement
 due to earthquake motion. Strappings shall be at points within the upper one-third and lower one-third of its vertical dimensions.
 At the lower point, a distance of not less than four (4) inches (102 mm) shall be maintained from the controls to the strapping.

 • URAR: Neighborhood - Market Conditions
 Marketing time for the neighborhood was estimated from analysis of current active listings, sales and resales within the subject's
 market area. Neighborhood showed property values increasing with a shortage of supply. Market financing was available.
 Marketing time appears to be under 90 days. The subject neighborhood is not homogenous and contains a very wide variety of
 properties in multiple price points. The predominant price shown on page 1 indicates the mode (most frequently occurring
 variate in a data set) for the neighborhood and has nothing to do with the subject's relationship with the neighborhood or the
 relationship between the subject's value and the indicated predominant price. The subject's value is within the low-high price
 range for the neighborhood and does not automatically set the predominant.

 • URAR: Sales Comparison Analysis - Summary of Sales Comparison Approach
 All six comparables were considered to be the most similar to the subject in style and market area. Adjustments for time were
 made based on the 1004MC addendum with support from the S&P Case Shiller home price index and were assessed at 1% a
 month for all sales closing more than three months prior to the inspection date. Site and location adjustments were made based
 on extraction and/or allocation. Quality of construction adjustments were based on the current market reaction, although some
 materials replacement cost may vary the market reaction is where adjustment is derived. Comps 2, 3 and 5's qualities were
 based on superior/custom exterior ornamentation/fenestration as well as custom/highend interior finishes which warranted
 downward adjustment. Differences in condition were adjusted based on market reaction and any condition is not a guaranty
 that a problem does not exist as appraiser can only view interior of comparables from mls photos. Comps 3 and 5's conditions
 were based on recent complete/extensive interior/exterior remodeling/renovation and warranted downward adjustment. Comp
 4's condition was based on inferior updating/remodeling and warranted upward adjustment. Market status adjustments were
 made based on the sale to list ratios of the comps used as well as the 1004mc provided and were assessed at 5%. All other
 adjustments were based on the market reaction and/or match pair analysis. Due to similar site utility, marketability and appeal
 no site adjustments were warranted for comps 1, 2, 3, 4 and 6. Due to similar utility, marketability and appeal no GLA
 adjustments were warranted for comps 1 and 3. Due to the use of GLA and basement square footage adjustments bedroom
 adjustments were not warranted and would have been redundant. Due to the similar condition of the comps used as well as the
 use of condition adjustments age adjustments were not warranted and would have been redundant. Due to the similar quality of
 the comps used as well as the use of quality adjustments design adjustments were not warranted and would have been
 redundant. Gross, net and line adjustments in excess of 25%, 15% and 10% are present yet were unavoidable due to the
 subject's design, location, quality, age, condition, GLA, amenities and very limited comparable sales data. The GLA of some
 comps vary from the subject's by more than 25% yet were utilized due to similar design, location, quality, age, condition,
 amenities, marketability and appeal. The age of some comps vary from the subject's by more than 30% yet were utilized due to
 similar design, location, quality, condition, amenities, marketability and appeal. Some comps are located across a major
 roadway from the subject yet were considered to be in competing neighborhoods with similar amenities, marketability and
 appeal and were therefore used. The location of comps across a major roadway from the subject has no adverse effect on the
 subject's marketability. The sales dates of some comps are more than 6 months prior to the inspection date yet were utilized
 due to similar GLA, design, location, quality, age, condition, amenities, marketability and appeal. A wide range of
 adjusted/unadjusted values (greater than 15%) is present yet was unavoidable due to the subject's GLA, design, location,
 quality, age, condition and very limited comparable sales data. Comps 2 and 3 was used solely in order to provided sales that
 did not require time adjustments and were given little weight in the market value conclusion of this report. Comp 4 was provided
 solely in order to bracket the subject's GLA and was given very little weight in the market value conclusion of this report. Comp 5
 was provided solely in order to bracket the subject's above grade/below grade bed/bath counts and was given very little weight
 in the market value conclusion of this report. Comp 6 was provided solely in order to meet lender guidelines for listing comps
 and was given no weight in the market value conclusion of this report. Given the most weight to sale comparable 1, as it
 required the least adjustment, the sales comparison approach indicated a final estimate of value to be $1,225,000.(R)




                                        Form TADD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE

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                                                                                                                                                          MIS-51938
                                                                          USPAP ADDENDUM                                                         File No. 2200022536
Borrower            Joan Raider Rawlings
Property Address    4534 NE 204th Pl
City                Lake Forest Park                                              County King                                             State WA          Zip Code 98155
Lender              Finance Of America Reverse LLC

    This report was prepared under the following USPAP reporting option:
         Appraisal Report                            This report was prepared in accordance with USPAP Standards Rule 2-2(a).
         Restricted Appraisal Report                 This report was prepared in accordance with USPAP Standards Rule 2-2(b).




    Reasonable Exposure Time
    My opinion of a reasonable exposure time for the subject property at the market value stated in this report is:                        0 to 180 days
    See attached addenda.




    Additional Certifications
    I certify that, to the best of my knowledge and belief:
         I have NOT performed services, as an appraiser or in any other capacity, regarding the property that is the subject of this report within the
         three-year period immediately preceding acceptance of this assignment.

         I HAVE performed services, as an appraiser or in another capacity, regarding the property that is the subject of this report within the three-year
         period immediately preceding acceptance of this assignment. Those services are described in the comments below.
    - The statements of fact contained in this report are true and correct.
    - The reported analyses, opinions, and conclusions are limited only by the reported assumptions and limiting conditions and are my personal, impartial, and unbiased
    professional analyses, opinions, and conclusions.
    - Unless otherwise indicated, I have no present or prospective interest in the property that is the subject of this report and no personal interest with respect to the parties
    involved.
    - I have no bias with respect to the property that is the subject of this report or the parties involved with this assignment.
    - My engagement in this assignment was not contingent upon developing or reporting predetermined results.
    - My compensation for completing this assignment is not contingent upon the development or reporting of a predetermined value or direction in value that favors the cause of
    the client, the amount of the value opinion, the attainment of a stipulated result, or the occurrence of a subsequent event directly related to the intended use of this appraisal.
    - My analyses, opinions, and conclusions were developed, and this report has been prepared, in conformity with the Uniform Standards of Professional Appraisal Practice that
    were in effect at the time this report was prepared.
    - Unless otherwise indicated, I have made a personal inspection of the property that is the subject of this report.
    - Unless otherwise indicated, no one provided significant real property appraisal assistance to the person(s) signing this certification (if there are exceptions, the name of each
    individual providing significant real property appraisal assistance is stated elsewhere in this report).




    Additional Comments
    See attached addenda.




  APPRAISER:                                                                                       SUPERVISORY APPRAISER: (only if required)


  Signature:                                                                                       Signature:
  Name: William Burns                                                                              Name:
  Date Signed: 04/28/2022                                                                          Date Signed:
  State Certification #: 1701454                                                                   State Certification #:
  or State License #:                                                                              or State License #:
  State: WA                                                                                        State:
  Expiration Date of Certification or License: 06/07/2023                                          Expiration Date of Certification or License:
  Effective Date of Appraisal: 04/27/2022                                                          Supervisory Appraiser Inspection of Subject Property:
                                                                                                        Did Not           Exterior-only from Street        Interior and Exterior
                                                     Form ID14AP - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE

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                                                                                  Building Sketch
Borrower                Joan Raider Rawlings
Property Address        4534 NE 204th Pl
City                    Lake Forest Park                                              County King                                                   State WA            Zip Code 98155
Lender/Client           Finance Of America Reverse LLC




                                                                                                        22.5'




                                                                        10'
                                          First Floor




                                                                                                                           12'
                                                                                                       Living
                                                                   7'
                                                13.5'                                                                       4'
                                                              2'




                                                                                      Stairs


                                                                                                                  Dining




                                                                                                                                      12'
                                                                   Bath


                                                 Bedroom
                                                                                         1/2                                4'                    Second Floor
                                    30'




                                                                                         Bath
                                                                        Stairs




                                                                                                                                                           8'




                                                                                                                                                                 4.
                                                                                                            Kitchen




                                                                                                                                                                   47
                                                                                                                                                  Stairs
                                                                                                                           18'




                                                                                                                                                                   '
                                                     Office
                                                                                                                                                           Den

                                                                                                                                            14'




                                                                                                                                                                   6'
                                                                                      Foyer
                                                                                 1'


                                                                                                 1'




                                                                                                                                                                   '
                                                                                                                                                                   47
                                                                                          7'
                                                        20.5'                                               15.5'



                                                                                                                                                                 4.
                                                                                                                                                           8'

                                                                                                        22.5'



                                          Basement
                                                                                                                           12'
                                                                        12'




                                                                                                      Bedroom

                                           4'             16.5'                                                             4'


                                                          Laundry
                                                                                                                                      12'




                                                                                                                 Bedroom
                                                                                  Stairs




                                                                                                   Bath

                                                                                                                            4'
                                    28'




                                                                                                                           5'




                                                   Garage                                                                  2'

                                                                                                            Bedroom
                                                                                                                                 6'
                                                                                                                           3'




                                                                                                                           2'
                                                                                 2'




                                                                                       8.5'                     14.5'
                                                        20'



 TOTAL Sketch by a la mode, inc.                                                  Area Calculations Summary

Living Area                                                                                                                                 Calculation Details
First Floor                                                                                    1615 Sq ft                                                                          12   ×4       =    48
                                                                                                                                                                                   42   × 15.5   =   651
                                                                                                                                                                                   41   ×7       =   287
                                                                                                                                                                                   32   ×7       =   224
                                                                                                                                                                                   30   × 13.5   =   405

Second Floor                                                                                    132 Sq ft                                                                          14 × 8        = 112
                                                                                                                                                                                   6×2           = 12
                                                                                                                                                                                   0.5 × 4 × 2   =   4
                                                                                                                                                                                   0.5 × 2 × 4   =   4

Total Living Area (Rounded):                                                                   1747 Sq ft
Non-living Area
Garage                                                                                          549 Sq ft                                                                          10 × 8.5      = 85
                                                                                                                                                                                   20 × 22       = 440
                                                                                                                                                                                   6×4           = 24

Basement                                                                                        939 Sq ft                                                                          22.5 × 12     = 270
                                                                                                                                                                                   6×2           = 12
                                                                                                                                                                                   14.5 × 10     = 145
                                                                                                                                                                                   6 × 16        = 96
                                                                                                                                                                                   16 × 23       = 368
                                                                                                                                                                                   12 × 4        = 48




                                                Form SKT.BLDSKI - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE

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                                                                    Plat Map
Borrower           Joan Raider Rawlings
Property Address   4534 NE 204th Pl
City               Lake Forest Park                            County King                                   State WA   Zip Code 98155
Lender/Client      Finance Of America Reverse LLC




                                      Form MAP.PLAT - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE

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                                                                Location Map
Borrower           Joan Raider Rawlings
Property Address   4534 NE 204th Pl
City               Lake Forest Park                            County King                                   State WA   Zip Code 98155
Lender/Client      Finance Of America Reverse LLC




                                       Form MAP.LOC - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE

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                                                          Subject Photo Page
Borrower           Joan Raider Rawlings
Property Address   4534 NE 204th Pl
City               Lake Forest Park                            County King                                    State WA       Zip Code 98155
Lender/Client      Finance Of America Reverse LLC




                                                                                                                          Subject Front
                                                                                                               4534 NE 204th Pl
                                                                                                               Sales Price
                                                                                                               Gross Living Area 1,747
                                                                                                               Total Rooms       6
                                                                                                               Total Bedrooms    1
                                                                                                               Total Bathrooms   1.1
                                                                                                               Location          N;Res;
                                                                                                               View              N;Res;
                                                                                                               Site              9626 sf
                                                                                                               Quality           Q4
                                                                                                               Age               18




                                                                                                                          Subject Rear




                                                                                                                         Subject Street




                                      Form PIC3x5.SR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE

        Case 22-10025-TWD                Doc 46-1           Filed 07/08/22              Ent. 07/08/22 16:44:19                  Pg. 22 of 53
                                                       Photograph Addendum
Borrower           Joan Raider Rawlings
Property Address   4534 NE 204th Pl
City               Lake Forest Park                            County King                                    State WA   Zip Code 98155
Lender/Client      Finance Of America Reverse LLC




                            Living Room                                                                     Dining Room




                          Kitchen View 1                                                                  Kitchen View 2




                              Bedroom                                                                   Bathroom View 1



                                       Form PICSIX2 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE

        Case 22-10025-TWD                Doc 46-1           Filed 07/08/22              Ent. 07/08/22 16:44:19             Pg. 23 of 53
                                                       Photograph Addendum
Borrower           Joan Raider Rawlings
Property Address   4534 NE 204th Pl
City               Lake Forest Park                            County King                                    State WA      Zip Code 98155
Lender/Client      Finance Of America Reverse LLC




                         Bathroom View 2                                                                    1/2 Bathroom




                                Office                                                                                Den




                       Basement Bedroom                                                               Basement Bedroom



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        Case 22-10025-TWD                Doc 46-1           Filed 07/08/22              Ent. 07/08/22 16:44:19                Pg. 24 of 53
                                                       Photograph Addendum
Borrower           Joan Raider Rawlings
Property Address   4534 NE 204th Pl
City               Lake Forest Park                            County King                                    State WA        Zip Code 98155
Lender/Client      Finance Of America Reverse LLC




                       Basement Bedroom                                                               Basement Bathroom




                               Laundry                                                                                Foyer




                   Additional Exterior Photo                                                     Additional Exterior Photo



                                       Form PICSIX2 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE

        Case 22-10025-TWD                Doc 46-1           Filed 07/08/22              Ent. 07/08/22 16:44:19                  Pg. 25 of 53
                                                       Photograph Addendum
Borrower           Joan Raider Rawlings
Property Address   4534 NE 204th Pl
City               Lake Forest Park                            County King                                    State WA   Zip Code 98155
Lender/Client      Finance Of America Reverse LLC




                   Additional Exterior Photo                                                     Additional Exterior Photo




                   Additional Exterior Photo                                                     Additional Exterior Photo




                    Additional Street Photo                                                              Subject Address



                                       Form PICSIX2 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE

        Case 22-10025-TWD                Doc 46-1           Filed 07/08/22              Ent. 07/08/22 16:44:19             Pg. 26 of 53
                                                       Photograph Addendum
Borrower           Joan Raider Rawlings
Property Address   4534 NE 204th Pl
City               Lake Forest Park                            County King                                    State WA    Zip Code 98155
Lender/Client      Finance Of America Reverse LLC




                          Garage Interior                                                                   Water Heater




                         Electrical Panel                                                                       Furnace




                         Smoke Detector                                                                      CO Detector



                                       Form PICSIX2 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE

        Case 22-10025-TWD                Doc 46-1           Filed 07/08/22              Ent. 07/08/22 16:44:19              Pg. 27 of 53
                                                      Comparable Photo Page
Borrower           Joan Raider Rawlings
Property Address   4534 NE 204th Pl
City               Lake Forest Park                            County King                                    State WA       Zip Code 98155
Lender/Client      Finance Of America Reverse LLC




                                                                                                                         Comparable 1
                                                                                                               5914 NE 201st St
                                                                                                               Prox. to Subject  0.60 miles E
                                                                                                               Sales Price       1,150,000
                                                                                                               Gross Living Area 1,730
                                                                                                               Total Rooms       7
                                                                                                               Total Bedrooms    3
                                                                                                               Total Bathrooms   2.0
                                                                                                               Location          N;Res;
                                                                                                               View              N;Res;
                                                                                                               Site              12443 sf
                                                                                                               Quality           Q4
                                                                                                               Age               41




                                                                                                                         Comparable 2
                                                                                                               20103 51st Ave NE
                                                                                                               Prox. to Subject  0.23 miles SE
                                                                                                               Sales Price       1,440,000
                                                                                                               Gross Living Area 1,620
                                                                                                               Total Rooms       6
                                                                                                               Total Bedrooms    2
                                                                                                               Total Bathrooms   2.1
                                                                                                               Location          N;Res;
                                                                                                               View              N;Res;
                                                                                                               Site              9800 sf
                                                                                                               Quality           Q3
                                                                                                               Age               47




                                                                                                                         Comparable 3
                                                                                                               18550 53rd Ave NE
                                                                                                               Prox. to Subject  0.97 miles SE
                                                                                                               Sales Price       1,680,000
                                                                                                               Gross Living Area 1,670
                                                                                                               Total Rooms       6
                                                                                                               Total Bedrooms    2
                                                                                                               Total Bathrooms   2.0
                                                                                                               Location          N;Res;
                                                                                                               View              N;Res;
                                                                                                               Site              10884 sf
                                                                                                               Quality           Q3
                                                                                                               Age               56




                                      Form PIC3x5.CR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE

        Case 22-10025-TWD                Doc 46-1           Filed 07/08/22              Ent. 07/08/22 16:44:19                  Pg. 28 of 53
                                                      Comparable Photo Page
Borrower           Joan Raider Rawlings
Property Address   4534 NE 204th Pl
City               Lake Forest Park                            County King                                    State WA       Zip Code 98155
Lender/Client      Finance Of America Reverse LLC




                                                                                                                         Comparable 4
                                                                                                               20418 33rd Ave NE
                                                                                                               Prox. to Subject  0.59 miles W
                                                                                                               Sales Price       1,050,000
                                                                                                               Gross Living Area 2,010
                                                                                                               Total Rooms       8
                                                                                                               Total Bedrooms    4
                                                                                                               Total Bathrooms   2.0
                                                                                                               Location          A;BsyRd;
                                                                                                               View              N;Res;
                                                                                                               Site              11448 sf
                                                                                                               Quality           Q4
                                                                                                               Age               43




                                                                                                                         Comparable 5
                                                                                                               19548 47th Ave NE
                                                                                                               Prox. to Subject  0.39 miles SE
                                                                                                               Sales Price       1,461,000
                                                                                                               Gross Living Area 1,220
                                                                                                               Total Rooms       5
                                                                                                               Total Bedrooms    0
                                                                                                               Total Bathrooms   0.1
                                                                                                               Location          N;Res;
                                                                                                               View              N;Res;
                                                                                                               Site              15261 sf
                                                                                                               Quality           Q3
                                                                                                               Age               59




                                                                                                                         Comparable 6
                                                                                                               5118 NE 201st Pl
                                                                                                               Prox. to Subject  0.30 miles SE
                                                                                                               Sales Price       1,375,000
                                                                                                               Gross Living Area 1,410
                                                                                                               Total Rooms       5
                                                                                                               Total Bedrooms    2
                                                                                                               Total Bathrooms   2.0
                                                                                                               Location          N;Res;
                                                                                                               View              N;Res;
                                                                                                               Site              9600 sf
                                                                                                               Quality           Q4
                                                                                                               Age               58




                                      Form PIC3x5.CR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE

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                                                  license




                    Form SCNLGL - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE

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                                  E&O Insurance - Page 1




                    Form SCNLGL - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE

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                                  E&O Insurance - Page 2




                    Form SCNLGL - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE

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                                  E&O Insurance - Page 3




                    Form SCNLGL - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE

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                                  E&O Insurance - Page 4




                    Form SCNLGL - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE

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                               EXHIBIT B




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Case 22-10025-TWD   Doc 46-1   Filed 07/08/22   Ent. 07/08/22 16:44:19   Pg. 36 of 53
                           Notice of Revised Estimate due to Valid Change of Circumstance
Re-disclosed Date: 7/1/2022

Lender:                      Finance of America Reverse LLC
Applicant(s):                Joan R Rawlings
Property Address:            4534 NE 204TH PLACE, LAKE FOREST PARK, WA 98155
Change Date (Non-Fee): 4/29/2022
Broker Processor:            Desirae Banchero
Dear Borrower:
Previously, in connection with your loan application, you were provided with a Good Faith Estimate ("GFE") form that
contained an estimate of the settlement charges and loan terms for your mortgage loan application. For one or more of
the following reasons below, we are providing you with a revised GFE form:
Valid Changed Circumstance Event: The borrower has requested a higher interest rate of 9.365%

                                                        GFE         NEW FEE
         FEE NAME & LINE NUMBER                                                   REASON
                                                       Section      AMOUNT

No Fees Changed




Should you have any questions about your revised GFE or your loan request, please call Finance of America Reverse
LLC at (888) 777-3311. We appreciate your business and look forward to continuing to serve your home mortgage
financing needs.

Sincerely,


Finance of America Reverse LLC




*2200022536*                                                                                    *MCCHANGED*
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          Case 22-10025-TWD                        Doc 46-1      Filed 07/08/22   Ent. 07/08/22 16:44:19   Pg. 37 of 53
                                   REVERSE MORTGAGE LOAN COMPARISON                                 Loan #:         2536
Borrower(s):Joan R Rawlings                                               Date Prepared:                  July 01, 2022
Lender:     Finance of America Reverse LLC                                Estimated Closing Date:         July 15, 2022
Phone #:    (888) 777-3311                                                DOB (Youngest Bwr):               07/31/1945
                  4534 NE 204TH PLACE, LAKE FOREST PARK, WA
Property Address: 98155                                                   PLU Percentage                          90.57%
                                               HomeSafe             HomeSafe          HomeSafe           CMT Monthly
                       Product Name
                                                   LESA                LESA              LESA                Cap10
Margin                                                   N/A                  N/A               N/A             2.500%
  Index Name                                             N/A                  N/A               N/A           1-yr CMT
  Initial Rate Index                                     N/A                  N/A               N/A             2.340%
  Expected Rate Index                                    N/A                  N/A               N/A             1.830%
  Annual Mortgage Insurance Premium                      N/A                  N/A               N/A             0.500%
Initial Interest Rate                                9.365%               9.240%            8.365%              4.840%
  Initial Credit Line Growth Rate                        N/A                  N/A               N/A             5.340%
  Lifetime Cap on Interest Rate                          N/A                  N/A               N/A           14.840%
Expected Interest Rate                               9.365%               9.240%            8.365%              4.330%
  Monthly Service Fee                                  $0.00                $0.00             $0.00               $0.00
  Home Value                                  $1,225,000.00        $1,225,000.00     $1,225,000.00       $1,225,000.00
Max Loan Amount/Max Claim Amount              $1,225,000.00        $1,225,000.00     $1,225,000.00         $970,800.00
Principal Limit                                 $596,575.00          $596,575.00       $535,325.00         $525,202.80
  -IMIP                                                $0.00                $0.00             $0.00         $19,416.00
  -Origination Fee                                     $0.00                $0.00             $0.00               $0.00
  -Other Closing Costs                             $5,486.95           $5,486.95         $5,486.95           $2,470.45
  +Credits                                        -$3,961.95          -$3,961.95        -$3,961.95          -$3,961.95
Net Available Principal Limit                   $595,050.00          $595,050.00       $533,800.00         $507,278.30
  Mortgage Payoffs                              $673,356.62          $673,356.62       $673,356.62         $673,356.62
  Repair Set Aside                                     $0.00                $0.00             $0.00               $0.00
  1st Year Tax & Insurance Set Aside               $4,686.29           $4,686.29         $4,686.29           $4,686.29
  Selected Property Set Aside                 Fully Funded          Fully Funded      Fully Funded        Fully Funded
Total Mandatory Obligations                              N/A                  N/A               N/A        $695,967.41
  Mandatory Obligations %                                N/A                  N/A               N/A          132.514%
  Additional Principal Limit Available                   N/A                  N/A               N/A               $0.00
  Requested usage of additional 10%                      N/A                  N/A               N/A         $52,520.28
  Initial Disbursement Limit                             N/A                  N/A               N/A        $485,178.83
Initial Disbursement Limit %                             N/A                  N/A               N/A           92.379%
  -Total Mandatory Obligations                           N/A                  N/A               N/A        $695,967.41
  Additional Required Payoffs                          $0.00                $0.00             $0.00               $0.00
Cash Available for Draw at Closing             -$134,542.10         -$134,542.10      -$195,792.10        -$210,788.58
  +Cash Due from Borrower                       $134,542.10          $134,542.10       $195,792.10         $210,788.58
  -Initial Cash to Borrower                            $0.00                $0.00             $0.00               $0.00
Remaining Draw allowed during 1st Year                   N/A                  N/A               N/A               $0.00
  +Reserved/Unavailable Principal Limit                  N/A                  N/A               N/A               $0.00
  -After 1st Year Tax & Insurance Set Aside      $51,549.19           $51,549.19        $51,549.19          $40,023.97
  Total Tax & Insurance Set Aside                $56,235.48           $56,235.48        $56,235.48          $44,710.26
Net Principal Limit                                    $0.00                $0.00             $0.00               $0.00
  Total Initial Credit Line                            $0.00                $0.00             $0.00               $0.00
  Monthly Payment                                        N/A                  N/A               N/A               $0.00
  Initial Monthly Payment Plan                   Lump Sum                 Tenure            Tenure          Lump Sum
Term                                                     N/A                  N/A               N/A                 N/A
  Remaining Draw allowed during 1st Year                 N/A                  N/A               N/A               $0.00
  Line of Credit Limit during 1st Year                   N/A                  N/A               N/A               $0.00
  Requested Line of Credit Usage 1st Year                N/A                  N/A               N/A               $0.00
  Estimated Additional Line of Credit After              N/A                  N/A               N/A               $0.00
     1st Year
  Monthly Payment for 1st Year                        N/A                   N/A                N/A                  $0.00
  Monthly Payment after 1st Year                      N/A                   N/A                N/A                  $0.00
Initial Loan Amount                            $540,339.52          $540,339.52        $479,089.52            $480,492.54


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Case 22-10025-TWD   Doc 46-1   Filed 07/08/22   Ent. 07/08/22 16:44:19   Pg. 39 of 53
                                   REVERSE MORTGAGE LOAN COMPARISON                               Loan #:       2536

Please be advised that these numbers are estimates ONLY. The assumptions upon which they are
based are subject to change, including the current interest rate and the estimated closing date. Other
factors, including the youngest borrower’s date of birth and the Maximum Claim Value may affect the
amounts shown.


 Borrower - Joan R Rawlings                 Date




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                                                                                                      Loan #:          2536
                                        Total Annual Loan Cost Rate Disclosure

 Date: July 01, 2022
 Lender or Lender’s Agent: Finance of America Reverse LLC
 Lender Address:           8023 East 63rd Place, Suite 700, Tulsa, OK 74133

Phone:         (888) 777-3311 Fax:                   (866) 885-0622


 Borrower(s):            Joan R Rawlings
 Loan Terms                                                           Monthly Loan Charges
 Age of Youngest Borrower:                       77                   Monthly Servicing Fee:          $0.00
 Appraised Property Value:                       $1,225,000.00        Mortgage Insurance:             N/A
 Initial Interest Rate:                          9.365%
 Monthly Advance:                                $0.00                Other Charges
 Initial Draw:                                   $538,814.52          Shared Appreciation:
 Line of Credit:                                 $0.00                Life Expectancy Set-Aside
                                                                      LESA Amount:                 $4,686.29
                                                                      Semi Annual Disbursement: $2,343.15
 Initial Loan Charges                                                 Repayment Limits
 Other Closing Costs:                            $1,525.00            Net Proceeds Estimated at 93% Of Projected
 Mortgage Insurance Premium:                     $N/A                 Home Sale

                                                     Total Annual Loan Cost Rate
  Assumed Annual
                                    2 -year loan term      6 -year loan term     11 -year loan term    15 -year loan term
  Appreciation
         0%                              14.87%                11.18%                  6.32%                   4.54%
         4%                              14.87%                11.18%                 10.35%                   8.70%
         8%                              14.87%                11.18%                 10.35%                  10.08%
           The cost of any reverse mortgage loan depends on how long you keep the loan and how much your house
appreciates in value. Generally, the longer you keep a reverse mortgage, the lower the total annual loan cost rate will
be.
           This table shows the estimated cost of your reverse mortgage loan, expressed as an annual rate. It
illustrates the cost for four loan terms: 2 years, half the life expectancy for someone your age, that life expectancy,
and 1.4 times that life expectancy. The table also shows the cost of the loan, assuming the value of your home
appreciates at three different rates: 0%, 4% and 8%.
           The total annual loan cost rates in this table are based on the total charges associated with this loan. These
charges typically include principal, interest, closing costs, mortgage insurance premiums, annuity costs and servicing
costs (but not disposition costs -- costs when you sell the home).
           The rates in this table are estimates. Your actual cost may differ if, for example, the amount of your loan
advances varies or the interest rate on your mortgage changes. You may receive projections of loan balances from
counselors or lenders that are based on an expected average mortgage rate that differs from the initial interest rate.
               SIGNING AN APPLICATION OR RECEIVING THESE DISCLOSURES DOES NOT REQUIRE
                                      YOU TO COMPLETE THIS LOAN



  Borrower - Joan R Rawlings                                 Date




  *2200022536*                                                                             *MCTALC*
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 FN121300000468900 02/11/2022
Case   22-10025-TWD           Doc 46-1                  Filed 07/08/22         Ent. 07/08/22 16:44:19         Pg. 41 of 53
                                                                                               Loan #        2536
                                                HomeSafe Comparison Form
Date: July 01, 2022

Lender or Lender's Agent: Finance of America Reverse LLC
Lender's Address:         8023 East 63rd Place, Suite 700, Tulsa, OK 74133

Phone:        (888) 777-3311 Fax:           (866) 885-0622


Borrower(s):                       Joan R Rawlings

                                                                                       HECM Monthly
Product Name                         HomeSafe LESA HomeSafe LESA HomeSafe LESA                        HECM 60 Fixed
                                                                                           CMT
Qualifying Age                                    77               77               77             77              77
Home Value                             $1,225,000.00    $1,225,000.00    $1,225,000.00  $1,225,000.00   $1,225,000.00
Max Loan Amount/Max                    $1,225,000.00    $1,225,000.00    $1,225,000.00    $970,800.00     $970,800.00
Claim Amount
Principal Limit                          $596,575.00     $596,575.00      $535,325.00      $525,202.80       $446,568.00
Initial Draw Amount (includes            $540,339.52     $540,339.52      $479,089.52      $480,492.54       $405,054.74
payoffs and closing costs)
Remaining Line of Credit                         N/A               N/A             N/A           $0.00              $0.00
IMIP                                           $0.00             $0.00           $0.00      $19,416.00         $19,416.00
Third Party Closing Costs                  $5,486.95         $5,486.95       $5,486.95       $2,470.45          $2,470.45
Origination Fee                                $0.00             $0.00           $0.00           $0.00              $0.00
Total Closing Costs                        $1,525.00         $1,525.00       $1,525.00      $17,924.50         $17,924.50
Initial Interest Rate                        9.365%            9.240%          8.365%          4.840%             5.990%
Annual Mortgage                                  N/A               N/A             N/A         0.500%             0.500%
Insurance Premium
Total Interest Rate                          9.365%            9.240%          8.365%          5.340%               6.490%
Lifetime Cap on Interest                         N/A               N/A             N/A        14.840%                   N/A
Rate
Growth Rate                                     N/A               N/A             N/A           5.340%                 N/A
Total Annual Loan Costs* -
Based on 4%
  2 Years                                   14.867%           14.739%         14.507%         11.943%            13.971%
  6 Years                                   11.178%           11.051%         10.381%          7.496%             8.927%
  11 Years                                  10.348%           10.222%          9.455%          6.500%             7.800%
  15 Years                                   8.696%            8.696%          9.158%          6.183%             7.441%
Monthly Service Fee                            $0.00             $0.00           $0.00           $0.00              $0.00

* Based on 0% HPA

The cost of any reverse mortgage loan depends on how long you keep the loan and how much your house appreciates in
value. Generally, the longer you keep a reverse mortgage, the lower the total annual loan cost rate will be.

This table shows the estimated cost of your reverse mortgage loan, expressed as an annual rate. It illustrates the cost for
four loan terms: 2 years, half the life expectancy for someone your age, that life expectancy, and 1.4 times that life
expectancy. The table also shows the cost of the loan, assuming the value of your home appreciates at 4%.

The total annual loan cost rates in this table are based on the total charges associated with this loan. These charges
typically include principal, interest, closing costs, mortgage insurance premiums, annuity costs and servicing costs (but
not disposition costs -- costs when you sell the home).

The rates in this table are estimates. Your actual cost may differ if, for example, the amount of your loan advances varies
or the interest rate on your mortgage changes. You may receive projections of loan balances from counselors or lenders
that are based on an expected average mortgage rate that differs from the initial interest rate.



*2200022536*                                                                             *MCREVCOMPR*
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                                                                                       Loan #:     2536
SIGNING AN APPLICATION OR RECEIVING THESE DISCLOSURES DOES NOT REQUIRE YOU TO COMPLETE
THIS LOAN


 Borrower - Joan R Rawlings                Date




*2200022536*                                                                   *MCREVCOMPR*
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          Case 22-10025-TWD         Doc 46-1   Filed 07/08/22       Ent. 07/08/22 16:44:19   Pg. 43 of 53
                                                                                                                                       Loan Number:              2536
                                                              Reverse Mortgage Amortization Schedule
Date: July 01, 2022
Estimated Amortization Schedule for:                       Joan R Rawlings
This Schedule Assumes An Interest Rate of 9.365% And Home Price Appreciation of 4.0%
Additional Assumptions:                                                               Refinance Indicator: No
Age of Youngest Borrower:                               77                           Financed Closing Cost:                $ 1,525.00
Initial Cash Withdrawal:                              $ 0.00                         Monthly Cash to Homeowner:            $ 0.00
Due from Borrower at Closing:                         $ 134,542.10                   Monthly Servicing Fee:                $ 0.00
Lien Payoffs:                                         $ 538,814.52                   Repair Set Aside:                     $ 0.00*
Initial Principal Limit:                              $ 596,575.00                   Tax and Insurance Set Aside:          $ 56,235.48*
Initial Line of Credit:                               $ 0.00                         Maximum Claim Amount:                 $ 1,225,000.00
Initial Property Value:                               $ 1,225,000.00                 Beginning Mortgage Balance:           $ 540,339.52
                                                                                     Initial Mortgage Insurance (IMIP)%:   0.000%


Notes:       Actual interest charges and home value projections may vary from amounts shown. Cash To Homeowner includes monthly cash, credit line draws and any tax and
             insurance payments made from set-aside. Available credit will be less than projected if funds are withdrawn from the line-of-credit.
             *Amounts are included in Mandatory Obligations.

Year        Age          Service         LESA      Cash Adv. MIP          Interest   Loan Balance Remaining          Principal        Home Value        Net Equity
                         Fee             Payment                                                  Credit Line        Limit


1           77           $0              $4,686    $0.00       $0         $52,982    $598,007        $0              $0               $1,274,000        $675,993
2           78           $0              $4,686    $0.00       $0         $58,620    $661,314        $0              $0               $1,324,960        $663,646
3           79           $0              $4,686    $0.00       $0         $64,810    $730,810        $0              $0               $1,377,958        $647,148
4           80           $0              $4,686    $0.00       $0         $71,605    $807,102        $0              $0               $1,433,077        $625,975
5           81           $0              $4,686    $0.00       $0         $79,065    $890,853        $0              $0               $1,490,400        $599,547
6           82           $0              $4,686    $0.00       $0         $87,253    $982,792        $0              $0               $1,550,016        $567,224
7           83           $0              $4,686    $0.00       $0         $96,243    $1,083,722      $0              $0               $1,612,016        $528,294
8           84           $0              $4,686    $0.00       $0         $106,111   $1,194,519      $0              $0               $1,676,497        $481,978
9           85           $0              $4,686    $0.00       $0         $116,945   $1,316,151      $0              $0               $1,743,557        $427,406
10          86           $0              $4,686    $0.00       $0         $128,837   $1,449,674      $0              $0               $1,813,299        $363,625
11          87           $0              $4,686    $0.00       $0         $141,893   $1,596,254      $0              $0               $1,885,831        $289,577
12          88           $0              $4,686    $0.00       $0         $156,225   $1,757,165      $0              $0               $1,961,264        $204,099
13          89           $0              $0        $0.00       $0         $171,809   $1,928,974      $0              $0               $2,039,715        $110,741
14          90           $0              $0        $0.00       $0         $188,608   $2,117,581      $0              $0               $2,121,304        $3,723
15          91           $0              $0        $0.00       $0         $207,049   $2,324,630      $0              $0               $2,206,156        $0.00

 *2200022536*                                                                                                                    *MCAMRTSCHD*
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                                                                                                                             Loan Number:              2536
16          92           $0              $0        $0.00     $0         $227,293   $2,551,924   $0            $0            $2,294,402        $0.00
17          93           $0              $0        $0.00     $0         $249,517   $2,801,441   $0            $0            $2,386,178        $0.00
18          94           $0              $0        $0.00     $0         $273,914   $3,075,355   $0            $0            $2,481,625        $0.00
19          95           $0              $0        $0.00     $0         $300,696   $3,376,051   $0            $0            $2,580,890        $0.00
20          96           $0              $0        $0.00     $0         $330,097   $3,706,149   $0            $0            $2,684,126        $0.00
21          97           $0              $0        $0.00     $0         $362,373   $4,068,522   $0            $0            $2,791,491        $0.00
22          98           $0              $0        $0.00     $0         $397,804   $4,466,326   $0            $0            $2,903,151        $0.00
23          99           $0              $0        $0.00     $0         $436,700   $4,903,026   $0            $0            $3,019,277        $0.00




 Borrower - Joan R Rawlings                           Date




*2200022536*                                                                                                           *MCAMRTSCHD*
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                        FEDERAL TRUTH-IN-LENDING DISCLOSURE STATEMENT
                                                          Fixed Rate
Date:           July 01, 2022                                   Loan No:              2536
Lender:         Finance of America Reverse LLC                  Borrower(s):   Joan R Rawlings
                8023 East 63rd Place, Suite 700                 Property       4534 NE 204TH PLACE
                Tulsa, OK 74133                                 Address:       LAKE FOREST PARK, WA 98155
[ X ] Preliminary [         ] Final
  ANNUAL PERCENTAGE                   FINANCE CHARGE               Amount Financed             Total of Payments
         RATE                         The dollar amount the        The amount of credit      The amount you will have
  The cost of your credit as a         credit will cost you.    provided to you or on your     paid after making all
         yearly rate.                                                     behalf.            payments as scheduled.
                  9.574                   $1,005,516.77                $590,736.74               $1,596,253.51 e

INTEREST RATE AND PAYMENT SUMMARY

                                                                                     Rate & Payment
  Interest Rate                                                                          9.365%
  Principal + Interest + Mortgage Insurance Payment                                  $1,596,253.51 e
  Total Est. Payment                                                                 $1,596,253.51 e

(e) The disclosed amounts marked with an "e" are estimates and assume that your loan will be due and payable upon
reaching your life expectancy or, if there is more than one Borrower, the life expectancy of the youngest borrower.
However, your loan will be due and payable upon the first to occur of any of the Maturity Events contained in the Loan
Agreement.
The disclosed amounts assume full repayment of the amount advanced plus accrued interest, although the amount you
may be required to pay is limited by your agreement.
ABILITY TO REFINANCE: There is no guarantee that you will be able to refinance to lower your rate and payments.
DEMAND: This obligation has a demand feature.
SECURITY: You are giving a mortgage on your principal residence.
PREPAYMENT: If you pay off early, you will not have to pay a penalty, and you will not be entitled to a refund of any
finance charge.
INSURANCE: You may obtain property insurance from anyone that is acceptable to
FINANCE OF AMERICA REVERSE LLC.
ASSUMPTION: Someone buying your house will not be allowed to assume the remainder of the mortgage on the
original terms.
See your contract documents for any additional information about nonpayment, default, right to accelerate the maturity
of the obligation, the creditor's policy regarding assumption or any required repayment in full before the scheduled
repayment date.
You are not required to complete this agreement merely because you have received this disclosure or signed a loan
application.

THE UNDERSIGNED ACKNOWLEDGES RECEIVING A COMPLETED COPY OF THIS DISCLOSURE.



 Borrower - Joan R Rawlings                       Date




*2200022536*                                                                                      *MCTIL*
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                                                                                                           WASHINGTON
                                                  ITEMIZATION OF GFE FEES
Loan Number:                   2536                                                                   Date: July 01, 2022

Borrower(s): Joan R Rawlings

Property Address: 4534 NE 204TH PLACE, LAKE FOREST PARK, WA 98155

Lender:           Finance of America Reverse LLC


                                                                                                                          GFE
                      FEE DESCRIPTION                        AMOUNT        POC      PAID BY            PAID TO
                                                                                                                        BLOCK #
 804 Appraisal Fee                                            $1,000.00     Y      Borrower                                3
 805 Credit Report Lender                                        $30.00            Borrower                                3
 807 Flood Certificate                                           $15.00            Borrower                                3
 808 Lender Paid Broker Compensation                         $40,000.00            Lender                                  1
 811 Document Preparation Fee (Lender)                          $175.00            Borrower                                1
 812 MERS Registration Fee                                       $11.95            Borrower                                1
 1102 Title Settlement/Closing Fee                              $575.00            Borrower                                4
 1104 Title Insurance - Lender Premium                        $4,000.00            Borrower                                4
 1113 Title - Notary Fees                                       $250.00            Borrower                                4
 1206 Recording Charges Mortgage                                $300.00            Borrower                                7
 1208 City/County Tax/Stamps - Deed                               $5.00            Borrower                                8
 1303 Counseling Fee                                            $125.00            Borrower                                6


                                                                                Subtotal of Estimated Fees and Costs:   $46,486.95




The credit report fee, property appraisal fee, and all other third-party fees are non-refundable except that
amounts collected in excess of the actual cost of such services will be refunded. If the credit report,
property appraisal, or any other third-party service has not been performed, the fee for such service will
be refunded in full.




 Borrower - Joan R Rawlings                               Date




 *2200022536*                                                                       *MCITMFEES*
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                                                                                                                               Rev. 06/22
FACTS                  WHAT DOES FINANCE OF AMERICA DO WITH YOUR PERSONAL INFORMATION?
Why?                   Financial companies choose how they share your personal information. Federal law gives consumers the right to
                       limit some but not all sharing. Federal law also requires us to tell you how we collect, share, and protect your
                       personal information. Please read this notice carefully to understand what we do.

What?                  The types of personal information we collect and share depend on the product or service you have with us. This
                       information can include:
                             • Social security number and account balances
                             • Credit scores and income
                             • Payment history and transaction history

How?                   All financial companies need to share customers' personal information to run their everyday business. In the
                       section below, we list the reasons financial companies can share their customers' personal information; the
                       reasons Finance of America chooses to share; and whether you can limit this sharing.
Reasons we can share your personal information                      Does Finance of America share?       Can you limit this sharing?
For our everyday business purposes -                                               Yes                                 No
such as to process your transactions, maintain your
account(s), respond to court orders and legal
investigations, or report to credit bureaus
For our marketing purposes -                                                       Yes                                 No
To offer our products and services to you
For joint marketing with other financial companies                                 Yes                                 No
For our affiliates' everyday business purposes -
                                                                                   Yes                                 No
information about your transactions and experiences
For our affiliates' everyday business purposes -
                                                                                   Yes                                 Yes
Information about your creditworthiness
For our affiliates to market to you                                                Yes                                 Yes
For our nonaffiliates to market to you                                             Yes                                 Yes

To limit our           Mail the form below.
sharing
                       Please note:
                       If you are a new customer, we can begin sharing your information 30 days from the date we sent this notice.
                       When you are no longer our customer, we continue to share your information as described in this notice.

                       However, you can contact us at any time to limit our sharing.

Questions              Call toll free at (833) 411-1461
Mail-in Form
                         Mark any/all you want to limit:

                              Do not share information about my creditworthiness with your affiliates for their everyday business
                         purposes.
                              Do not allow your affiliates to use my personal information to market to me.
                              Do not share my personal information with nonaffiliates to market their products and services to me.
                        Name             Joan R Rawlings
                        Address          4534 NE 204th PL
                        City, State, Zip Lake Forest Park, WA 98155
                        Loan Number 2200022536
                        Mail To: Finance of America, Attn. Privacy Notice, 1 West Elm Street, First Floor, Conshohocken, PA 19428




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Who we are
Who is providing this notice?                       Finance of America Mortgage LLC, Finance of America Reverse LLC, and Finance of America
                                                    Home Improvement
 What we do
 How does Finance of America protect To protect your personal information from unauthorized access and use, we use security
 my information?                     measures that comply with federal law. These measures include computer safeguards and
                                     secured files and buildings.
 How does Finance of America collect We collect your personal information, for example, when you:
 my personal information?                  • Apply for a loan or give us your income information
                                           • Give us your wage statements or provide account information
                                           • Provide employment information
                                     We also collect your personal information from others, such as credit bureaus, affiliates
                                     and other companies.
 Why can't I limit all sharing?      Federal law gives you the right to limit only:
                                           • Sharing for affiliates everyday business purposes - information about your
                                              creditworthiness
                                           • Affiliates from using your information to market to you
                                           • Sharing for nonaffiliates to market to you
                                     State Laws and individual companies may give you additional rights to limit sharing.
 What happens when I limit sharing   Your choices will apply to everyone on your account.
 for an account I hold jointly with
 someone else?
 Definitions
 Affiliates                                         Companies related by common ownership or control. They can be financial or nonfinancial
                                                    companies.
                                                    • Our affiliates include other companies with a Finance of America name, such as Finance
                                                       of America Mortgage LLC, Finance of America Reverse LLC, Finance of America Home
                                                       Improvement, Boston National Title, companies with BNT in the name, The Closer,
                                                       Agents National Title Insurance Company, Gulf Coast Title Insurance Company and
                                                       companies with Incenter in the name.
 Nonaffiliates                                      Companies not related by common ownership or control. They can be financial and
                                                    nonfinancial companies.
                                                    • Nonaffiliates we share with include providers of insurance, warranty and related
                                                       services and direct marketing.
 Joint Marketing                                    A formal agreement between nonaffiliated financial companies that together market
                                                    financial products or services to you.
                                                    • Our joint marketing partners include insurance providers and warranty or service
                                                       contract providers.




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Other Important Information
For California Residents: In accordance with California law, we will not share information we collect about California residents with
nonaffiliates except as permitted by law, such as with the consent of the customer or to service the customer’s accounts. We will
also limit the sharing of information about you with our affiliates to the extent required by applicable California law.

For Nevada Residents: We are providing you this notice pursuant to Nevada law. If you prefer not to receive marketing calls from
us, you may be placed on our Internal Do Not Call List by calling us at (888) 488-8471. You also may contact the Bureau of
Consumer Protection, Office of the Nevada Attorney General, at 555 E. Washington St., Suite 3900, Las Vegas, NV 89101; Phone
number: 702.486.3132; email: AGINFO@ag.nv.gov.

For North Dakota Residents: In accordance with North Dakota law, we will not share information we collect about North Dakota
residents with nonaffiliates except as permitted by law, such as with the consent of the customer or to maintain or service the
customer’s account.

For Vermont Residents: In accordance with Vermont law, we will not share information we collect about Vermont residents with
nonaffiliates except as permitted by law, such as with the consent of the customer or to service the customer’s accounts. We will
not share creditworthiness information about Vermont residents with our affiliates except with the authorization or consent of the
Vermont resident.




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